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                              UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF RHODE ISLAND

                                              §
  Conservation Law Foundation, Inc.,          §
                                              §         C.A. No. 1:17-cv-00396-WES-LDA
                        Plaintiff,            §
                                              §        SECOND AMENDED COMPLAINT
  v.                                          §
                                              §                          and
  Shell Oil Products US,                      §
  Shell Oil Company,                          §                   JURY DEMAND
  Shell Petroleum, Inc.,                      §
  Shell Trading (US) Company,                 §
  Motiva Enterprises LLC,                     §
  Triton Terminaling LLC, and                 §
  Equilon Enterprises LLC,                    §
                                              §
                        Defendants.           §
                                              §
                                              §

       CONSERVATION LAW FOUNDATION’S SECOND AMENDED COMPLAINT FOR
           DECLARATORY AND INJUNCTIVE RELIEF AND CIVIL PENALTIES

  Plaintiff Conservation Law Foundation, Inc. (“CLF”), by and through its counsel, hereby alleges:

                                        INTRODUCTION

  1.      This is a civil suit brought under the citizen suit enforcement provisions of the Federal

  Water Pollution Control Act, 33 U.S.C. §§ 1251, et seq. (“Clean Water Act” or “CWA”), and the

  Solid Waste Disposal Act, 42 U.S.C. §§ 6901, et seq. (“Resource Conservation and Recovery

  Act” or “RCRA”). Plaintiff CLF seeks declaratory and injunctive relief, civil penalties, and

  other relief the Court deems proper to remedy Defendants’ Shell Oil Products US, Shell Oil

  Company, Shell Petroleum, Inc., Shell Trading (US) Company, Motiva Enterprises LLC, Triton

  Terminaling LLC, and Equilon Enterprises LLC (hereinafter, collectively, “Defendants” or

  “Shell”) violations of federal law, which include: (1) Shell’s past and ongoing failures to comply

  with Rhode Island Pollutant Discharge Elimination System (“RIPDES”) Permit No. RI0001481,
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  issued February 14, 2011 and effective April 1, 2011 (expired April 1, 2016 and administratively

  continued) (“the Permit”) (attached hereto as Exhibit A) and the Clean Water Act; and (2) that

  Shell has contributed and is contributing to past and present handling, storage, treatment,

  transportation, or disposal of solid and hazardous wastes which may present an imminent and

  substantial endangerment to health or the environment in violation of RCRA.

  2.      These violations of federal law have occurred and are occurring at Shell’s Providence

  Terminal, formerly the Motiva Enterprises LLC Providence Terminal, a bulk storage and fuel

  terminal located at 520 Allens Avenue in Providence, Rhode Island (hereinafter “Providence

  Terminal”).

                                    JURISDICTION AND VENUE

  3.      CLF brings this civil suit under the citizen suit enforcement provisions of Section 505 of

  the Clean Water Act, 33 U.S.C. § 1365, and Section 7002 of the Resource Conservation and

  Recovery Act, 42 U.S.C. § 6972. This Court has subject matter jurisdiction over the parties and

  this action pursuant to those statutes and 28 U.S.C. § 1331 (providing district courts with original

  jurisdiction over an action arising under the Constitution and laws of the United States).

  4.      Venue is proper in the U.S. District Court for the District of Rhode Island pursuant to

  Section 505(c)(1) of the CWA, 33 U.S.C. § 1365(c)(1), and Section 7002(a) of RCRA, 42 U.S.C.

  § 6972(a), because the source of the violations is located within this judicial district.

  5.      On June 28, 2017, CLF notified Shell of its intention to file suit for violations of the

  Clean Water Act, in compliance with the statutory notice requirements set forth in 33 U.S.C.

  § 1365(a)(1), and the corresponding regulations at 40 C.F.R. § 135.2. Letter to Shell, from A.

  Moses, Vice President and Director, CLF Rhode Island (June 28, 2017) (hereinafter, “CLF’s

  Notice Letter”). In that June 28, 2017 letter, CLF also notified Shell of its intention to file suit for



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  violations of RCRA, in compliance with the statutory notice requirements set forth in 42 U.S.C.

  § 6972(b)(2)(A), and the corresponding regulations at 40 C.F.R. Part 254. Id. A true and

  accurate copy of CLF’s Notice Letter (without attachments) is appended hereto as Exhibit B.

  6.     Thereafter, on February 12, 2018, CLF issued a supplemental notice letter. In addition to

  the violations alleged in the June 28, 2017 Letter, CLF identified two additional parties as

  defendants: Triton Terminaling LLC and Equilon Enterprises LLC.            CLF also identified

  additional regulations under RCRA and associated Hazardous Waste Regulations of Rhode

  Island governing the management of hazardous wastes at Shell’s Providence Terminal. Letter to

  Shell, from H. Murray, Staff Attorney, CLF (February 12, 2018) (hereinafter “CLF’s

  Supplemental Notice Letter”). A true and accurate copy of CLF’s Supplemental Notice Letter is

  appended hereto as Exhibit C.

  7.     At the time CLF filed the Amended Complaint in this action, more than ninety days had

  elapsed since CLF’s Notice Letter was served on Shell, during which time neither the

  Environmental Protection Agency (“EPA”) nor the Rhode Island Department of Environmental

  Management (“DEM”) commenced and diligently prosecuted a court action to redress the CWA

  or RCRA violations alleged in this complaint. See 33 U.S.C. § 1365(b)(1)(B); 42 U.S.C.

  § 6972(b).

  8.     More than ninety days have elapsed since CLF’s Supplemental Notice Letter was served

  on Shell, during which time neither the EPA nor DEM has commenced and diligently prosecuted

  a court action to redress the CWA and RCRA violations alleged in this complaint. See 33 U.S.C.

  § 1365(b)(1)(B); 42 U.S.C. § 6972(b).

  9.     Further, neither EPA nor DEM has taken administrative action to redress the Clean Water

  Act or RCRA violations alleged in this complaint.



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                                             PARTIES

         Plaintiff

  10.    Plaintiff CLF is a 501(c)(3) nonprofit, member-supported organization dedicated to the

  conservation and protection of New England’s public health, environment, and natural resources.

  It is incorporated under the laws of Massachusetts with its principal place of business at 62

  Summer Street, Boston, MA 02110. CLF operates in Rhode Island at 235 Promenade Street,

  Suite 560, Providence, RI 02908. CLF has over 5,000 members, including over 300 members in

  Rhode Island. CLF has long worked to protect the health of New England’s waterways,

  including addressing the significant water quality impacts of industrial and stormwater pollution.

  11.    CLF members live near, recreate on, and regularly visit the roads and waters near Shell’s

  Providence Terminal, including, but not limited to, the Providence River, the Providence Harbor,

  and Narragansett Bay. CLF members use and enjoy these waters for recreational and aesthetic

  purposes, including, but not limited to, boating, swimming, fishing, observing wildlife, and

  sightseeing, and intend to continue to engage in these activities in the future. CLF members use

  the roads near Shell’s Providence Terminal for travel, including driving and biking.

  12.    CLF and its members are harmed and threatened by Shell’s acts and omissions at the

  Providence Terminal and its violations of environmental laws and regulations.

  13.    CLF and its members are directly and indirectly exposed to or otherwise harmed by, and

  have an interest in preventing, Shell’s pollutant discharges and/or releases from the Providence

  Terminal. Among other pollutants, these discharges and/or releases contain toxic pollutants

  known to be harmful to humans and aquatic life, to persist in the environment, to bioaccumulate

  in fish and shellfish, and to cause harm to water quality and living marine resources. These




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  discharges and/or releases of pollutants, including toxic pollutants, result from Shell’s on-going

  activities at the Providence Terminal and its failure to comply with the Permit.

  14.    Further, CLF and its members are injured by Shell’s failure to comply with the

  monitoring and reporting requirements in its Permit. By failing to take samples at the required

  times, failing to take samples at all, and failing to report the contents of its discharge fully and

  accurately, Shell is preventing government regulators, the public, and CLF and its members from

  knowing what pollutants, and in what quantities, the Providence Terminal is discharging to the

  Providence River. This impairs CLF and its members’ ability to make fully informed decisions

  about their use of the River that take into account the presence of harmful pollutants.

  15.    Furthermore, the monitoring and reporting requirements in the Permit are critical to

  assure necessary revisions and modifications of pollutant control requirements. By failing to

  monitor and report in a manner consistent with the Permit, Shell has avoided regulatory

  obligations triggered by monitoring results.

  16.    CLF and its members are concerned that Shell’s pollutant discharges and/or releases,

  including toxic pollutant discharges and/or releases, harm the ecosystem and human use and

  enjoyment of the Providence River, the Providence Harbor, and Narragansett Bay. CLF and its

  members are also deeply concerned about health impacts resulting from exposure to pollutants

  from the Providence Terminal when they are present in the surrounding environment. For these

  reasons, Shell’s violations have diminished and continue to diminish CLF’s members’ use and

  enjoyment of the environment surrounding the Providence Terminal. CLF seeks, on behalf of its

  members, to prevent and remedy these ongoing injuries, compel compliance with the Permit, and

  seek restoration of affected marine resources with this action.




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  17.    CLF and its members are also concerned about, and have an interest in eliminating the

  risk from, the discharge and/or release of pollutants from the Providence Terminal into the

  Providence River, the Providence Harbor, and Narragansett Bay, as well as into nearby

  communities and ecosystems.

  18.    CLF and its members are affected by, and concerned with, pollutant discharges and/or

  releases resulting from Shell’s failure to utilize good engineering practices in the design and

  operation of the Providence Terminal and its wastewater treatment system. Shell’s wastewater

  treatment system is designed, engineered, and operated such that precipitation has caused and

  will cause untreated and undertreated pollutant discharges and/or releases due to undersized

  pipes and inadequate storage and treatment infrastructure.

  19.    Further, in addition to discharges and/or releases due to precipitation, the Providence

  Terminal has not been designed or modified to address pollutant discharges and/or releases due

  to flooding; specifically, the Providence Terminal is likely to discharge and/or release pollutants

  into surrounding waters, groundwater, the community, and the air because it has not been

  designed to withstand flooding associated with storm events and storm surge, tides, sea level

  rise, and increasing sea surface temperatures.

  20.    The substantial risk of pollutant discharges and/or releases is due to, including, but not

  limited to, inadequate infrastructure design and infrastructure failure at the Providence Terminal

  to sufficiently prepare for precipitation and/or flooding that is exacerbated by storms and storm

  surge, sea level rise, and increasing sea surface temperatures, as discussed in Section IV.A, infra.

  21.    CLF and its members are placed directly in harm’s way by Shell’s pollutant discharges,

  releases, and/or risk of releases and have no assurance that they will be protected from pollutants

  released and/or discharged from the Providence Terminal. Shell is not in compliance with the



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  Permit for, at a minimum, the reasons set forth herein, including, but not limited to, failing to

  comply with the Permit’s monitoring and reporting requirements; failing to develop and

  implement an adequate stormwater pollution prevention plan (“SWPPP”), spill prevention,

  control and countermeasures plan (“SPCC”), and facility response plan (“FRP”); and failing to

  utilize good engineering practices in the design and operation of the Providence Terminal,

  including, but not limited to, its wastewater treatment system.

         Defendants

  22.    Defendant Shell Oil Products US was founded in 1995 and is headquartered in Houston,

  Texas. Shell Oil Products US is a wholly-owned subsidiary of Royal Dutch Shell plc that

  markets and distributes crude oil and petroleum products.

  23.    Defendant Shell Oil Company, founded in 1912 when the Royal Dutch/Shell Group

  founded the American Gasoline Company, is headquartered in Houston, Texas. Shell Oil

  Company is a wholly-owned subsidiary of Royal Dutch Shell plc that produces oil and gas in

  deepwater in the Gulf of Mexico, heavy oil in California, and oil and gas from shale in

  Pennsylvania.

  24.    Defendant Shell Petroleum, Inc. was founded in 1984 and is headquartered in Houston,

  Texas. Shell Petroleum, Inc. is a wholly-owned subsidiary of Royal Dutch Shell plc that

  produces, refines, and markets petroleum products and chemicals.

  25.    Defendant Shell Trading (US) Company became operational in 1998 and is

  headquartered in Houston, Texas. Shell Trading (US) Company is a wholly-owned subsidiary of

  Royal Dutch Shell plc and is one of the world’s largest energy trading companies, operating as

  the market interface of Royal Dutch Shell’s US companies and affiliates.




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  26.    Defendant Motiva Enterprises LLC, a wholly-owned affiliate of Saudi Aramco, is a fuel

  refining, distribution, production, and marketing company headquartered in Houston, Texas.

  Motiva Enterprises LLC formerly operated the Providence Terminal. Motiva Enterprises LLC

  was a joint venture between Royal Dutch Shell plc and Saudi Aramco (through its subsidiary

  Saudi Refining, Inc.). Shell formally announced the completion of the dissolution of Motiva

  Enterprises LLC on May 1, 2017. See Shell Global, Shell Announces the Completion of

  Transaction to Separate Motiva Assets (May 1, 2017), http://www.shell.com/media/news-and-

  media-releases/2017/completion-transaction-to-separate-motiva-assets.html. Per the dissolution

  agreement, Shell maintained control over the Northeastern region of the U.S., including

  ownership of the Providence Terminal. Id. References to Shell herein include any predecessors,

  successors, parents, subsidiaries, affiliates, and divisions of Shell, including Motiva Enterprises

  LLC.

  27.    Defendant Equilon Enterprises LLC was initially joined with Texaco as a joint venture by

  Shell Oil Company in 1998. On February 8, 2002 Texaco divested all interests in Equilon

  Enterprises LLC and Motiva Enterprises LLC to Shell. Equilon Enterprises LLC is currently

  doing business as Shell Oil Products US.

  28.    Defendant Triton Terminaling LLC is a subsidiary of Shell Oil Company and on May 15,

  2017, assumed RIPDES Permit No. RI0001481 for the Shell Providence Terminal.

  29.    Royal Dutch Shell plc is the parent company of the Royal Dutch Shell Group, a

  multinational oil and gas corporation incorporated in England and Wales and headquartered in

  The Hague, The Netherlands. The Royal Dutch Shell Group formed in 1907 upon the merger of

  the Royal Dutch Petroleum Company and the Shell Transport and Trading Company.




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  30.     Upon information and belief, Shell is the world’s seventh largest company by 2016

  revenues and the second largest oil and gas company. Shell Oil Company, Royal Dutch Shell

  plc’s largest business, held the highest 2016 market value on the London Stock Exchange, with a

  market cap of 193 billion pounds (£).

  31.     Shell is a large producer, refiner, distributor, and marketer of petrochemicals. Upon

  information and belief, Shell produces approximately 3.7 million barrels of oil equivalent

  (“BOE”) every day.

  32.     Upon information and belief, Shell’s “proved reserves” (the amount of oil and gas that

  Shell could presently extract based on current technology and capabilities) as of December 31,

  2016, are approximately 13.248 billion BOE, a 2.887 billion BOE increase (before production)

  from the year before. With interests in 22 oil refineries and operations in over 70 countries, Shell

  has a combined daily refining capacity of 2.9 million barrels.

  33.     Upon information and belief, Shell Oil Products US operates the Providence Terminal

  and Triton Terminaling LLC holds the Permit for the Providence Terminal.

                           STATUTORY AND REGULATORY BACKGROUND

                                          Clean Water Act

  34.     Congress enacted the Clean Water Act to “restore and maintain the chemical, physical,

  and biological integrity of the Nation’s waters.” 33 U.S.C. § 1251(a). To accomplish that

  objective, Congress set as a “national goal that the discharge of pollutants into the navigable

  waters be eliminated . . . .” Id.

  35.     Accordingly, Section 301(a) of the Clean Water Act, 33 U.S.C. § 1311(a), prohibits the

  discharge of any pollutant into waters of the United States from a point source, unless the

  discharge complies with various enumerated sections of the Act.



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   36.     Among other things, Section 301(a) prohibits discharges not authorized by, or in

   violation of, the terms of a valid National Pollutant Discharge Elimination System (“NPDES”)

   permit issued pursuant to Section 402(p) of the CWA, 33 U.S.C. § 1342(p).

   37.     Section 502(14) of the Clean Water Act defines “point source” to include “any

   discernible, confined and discrete conveyance, including but not limited to any pipe, ditch,

   channel, tunnel, conduit, well, discrete fissure, container, rolling stock, concentrated animal

   feeding operation, or vessel or other floating craft, from which pollutants are or may be

   discharged.” 33 U.S.C. § 1362(14).

   38.     Under the regulations implementing the Clean Water Act, the definition of “discharge of

   a pollutant” includes “additions of pollutants into waters of the United States from: surface

   runoff which is collected or channelled by man.” 40 C.F.R. § 122.2.

   39.    Dischargers of pollutants, including industrial wastewater, process wastewater, and

   stormwater associated with industrial activity, must obtain and comply with the requirements of

   NPDES permits issued under Section 402 of the Clean Water Act, 33 U.S.C. § 1342.

   40.    NPDES permits contain pollutant sampling and monitoring requirements and limits on

   the amount or concentration of allowable pollutants, in addition to requirements regarding

   control measures, best management practices, and recordkeeping and reporting.

   41.    The discharge of any pollutant in violation of a NPDES permit, the failure to conduct

   required monitoring for pollutant discharges, and the failure to comply with other requirements

   of a NPDES permit are all violations of the Clean Water Act, 33 U.S.C. §§ 1311(a), 1342.

   42.    In Rhode Island, the Director of DEM has been delegated authority to implement the

   NPDES permit program, R.I. Gen. Laws § 46-12-3, which in Rhode Island is called the Rhode

   Island Pollutant Discharge Elimination System, or “RIPDES.”



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   43.    Section 505(a)(1) of the Clean Water Act, 33 U.S.C. § 1365(a)(1), provides for citizen

   enforcement actions against “any person . . . who is alleged to be in violation of [] an effluent

   standard or limitation . . . or [] an order issued by the [EPA] Administrator or a State with respect

   to such a standard or limitation.”

   44.    Such enforcement action under Section 505(a) of the Clean Water Act includes an action

   seeking remedies for unauthorized discharges in violation of Section 301 of the Clean Water Act,

   33 U.S.C § 1311, as well as for failing to comply with one or more permit conditions in violation

   of Sections 402 and 505(f) of the Act, 33 U.S.C. §§ 1342, 1365(f). Each separate violation of the

   Clean Water Act subjects the violator to a penalty of up to $37,500 per day per violation for all

   violations occurring between January 12, 2009 and November 2, 2015; up to $51,570 per day per

   violation for all violations occurring after November 2, 2015 and assessed on or after August 1,

   2016 but before January 15, 2017; up to $52,414 per day per violation for all violations occurring

   after November 2, 2015 and assessed on or after January 15, 2017; and up to $53,484 per day per

   violation for all violations occurring after November 2, 2015 and assessed on or after January 15,

   2018. See 33 U.S.C. §§ 1319(d), 1365(a); 40 C.F.R. §§ 19.1–19.4.

                                  Resource Conservation and Recovery Act

   45.    RCRA’s citizen suit provision, 42 U.S.C. § 6972, provides in relevant part:

                  [A]ny person may commence a civil action on his own behalf-
                  (1)(A) against any person . . . who is alleged to be in violation of
                  any permit, standard, regulation, condition, requirement,
                  prohibition, or order which has become effective pursuant to this
                  chapter; or (B) against any person . . . including any past or present
                  generator, past or present transporter, or past or present owner or
                  operator of a treatment, storage, or disposal facility, who has
                  contributed or who is contributing to the past or present handling,
                  storage, treatment, transportation, or disposal of any solid or
                  hazardous waste which may present an imminent and substantial
                  endangerment to health or the environment[.]


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   42 U.S.C. § 6972(a)(1).

   46.        “RCRA’s primary purpose . . . is to reduce the generation of hazardous waste and to

   ensure the proper treatment, storage, and disposal of that waste which is nonetheless generated,

   ‘so as to minimize the present and future threat to human health and the environment.’” Meghrig

   v. KFC W., Inc., 516 U.S. 479, 483 (1996) (quoting 42 U.S.C. § 6902(b)).

   47.        RCRA’s citizen suit provision “allows citizen suits when there is a reasonable prospect

   that a serious, near-term threat to human health or the environment exists.” Me. People’s All. &

   Nat. Res. Def. Council v. Mallinckrodt, Inc., 471 F.3d 277, 279 (1st Cir. 2006).

                                       FACTUAL BACKGROUND

         I.      Shell’s Providence Terminal

   48.        Defendants,   acting    through   officers,   managers,   subsidiary    companies,   and

   instrumentalities, own or have owned and/or operate or have operated the Providence Terminal.

   49.        The Providence Terminal is a bulk storage and fuel terminal that has operated since 1907.

   It previously operated as a lubrication oil blending facility, an asphalt production facility, and a

   petroleum distribution facility.

   50.        Upon information and belief, the Providence Terminal is comprised of approximately 75

   acres of land.

   51.        The Providence Terminal consists of “tank farms” (the West Side Tank Farm and East

   Side Tank Farm), an ethanol railcar terminal, a marine terminal, buildings, and infrastructure.

   The West and East Side Tank Farms refer to the tanks located on the west and east sides of

   Allens Avenue, respectively.

   52.        The Providence Terminal is engaged in the receipt, storage, and distribution of petroleum

   products. The spectrum of fuels handled by the Providence Terminal consists of motor gasoline,



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   fuel grade ethanol, fuel oil, jet fuel, fuel additives, and diesel. The Providence Terminal contains

   twenty-five refined petroleum product storage tanks, six of which are utilized for ethanol storage.

   53.    The Providence Terminal processes both neat ethanol and fuel ethanol, and receives and

   processes off-spec gasoline, gasoline blending stock, and dimate (hexane) to produce saleable

   gasoline. Fuel products are received at the marine transfer area of the Providence Terminal via

   ships and barges and shipped from the Providence Terminal via trucks or barges. The ethanol is

   transferred into ethanol railcars and transported off the site.

   54.    The Providence Terminal generates, stores, handles, discharges, and disposes of (and has

   throughout the term of Motiva’s and Shell’s ownership and control) refined petroleum products

   containing and/or comprised of hazardous waste constituents, toxic and hazardous chemicals,

   metals, and compounds, including, but not limited to: Ignitable Waste, Lead, Benzene, Ethanol,

   Ethylbenzene, Iron, Methyl Tertiary Butyl Ether (MTBE), Non-aqueous phase liquid (NAPL),

   SGT-HEM (Oil and Grease), Petroleum Hydrocarbons, Pyrene, Total Suspended Solids, Xylenes

   (m,p,o), and the following Polycyclic Aromatic Hydrocarbons (PAHs):1 Acenaphthene,

   Acenaphthylene, Anthracene, Benzo(a)anthracene, Benzo(a)pyrene, Benzo(b)fluroanthene,

   Benzo(ghi)perylene, Benzo(k)fluoranthene, Chrysene, Dibenzo(a,h)anthracene, Fluoranthene,

   Fluorene, Indeno(1,2,3-cd)pyrene, Naphthalene, Phenanthrene, and Pyrene.

   55.    Petroleum products handled and stored at the Providence Terminal are comprised of

   hundreds of petroleum hydrocarbons and other constituents including but not limited to

   hazardous waste constituents, such as Benzene, Toluene, Naphthalene, Fluoranthene,




   1
     Referred to as “Polynuclear” Aromatic Hydrocarbons (PAHs) in the Permit. Ex. A, Permit Part
   I.A.1, at 2. Polynuclear is synonymous with Polycyclic.


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   Benzo(k)fluoranthene,      Benzo(b)fluoranthene,     Indeno(1,2,3-cd)pyrene,       Benzo(a)pyrene,

   Benzo(a)anthracene, Dibenzo(a,h)anthracene, Chrysene, and 3-Methyl-cholanthrene.

   56.    At the Providence Terminal, Shell is regulated under RCRA as a generator of hazardous

   waste, Handler ID No. RID059741520.

   57.    Over the past decade, Shell has at times been categorized as either a Large Quantity

   Generator of hazardous waste or a Small Quantity Generator of Hazardous Waste at the

   Providence Terminal.

   58.    Since late February 2018, Shell has been categorized as a Large Quantity Generator of

   hazardous waste at the Providence Terminal. See EPA, 2017 BR/Notification for Shell Oil

   Products US - Providence Terminal, Site ID RID059741520 (Feb 22, 2018).

   59.    As a generator of hazardous waste and due to the presence of hazardous waste

   constituents at the Providence Terminal, Shell must comply with applicable Rhode Island RCRA

   regulations at R.I. Admin. Code 25-15-102:5.0 entitled “Generators.”

   60.    Hazardous waste constituents are defined in EPA regulations to include a wide variety of

   compounds and chemicals that are present at the Providence Terminal in wastes, as legacy

   contaminants, and in, or as a component of, the refined petroleum products handled and stored at

   the Providence Terminal.

   61.    The Providence Terminal’s marine transfer area is comprised of two mooring areas and

   two product transfer areas. The Providence Terminal is equipped to dock two vessels

   simultaneously. Product is transferred via the dock or via a ten-bay truck rack.

   62.    The Providence Terminal operates 24 hours per day, 7 days per week.

   63.    Defendants are, and/or have been, responsible for the operation and maintenance of the

   Providence Terminal, including compliance with the Permit.



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         II.      The Providence River

   64.         The Providence Terminal is located on the shore of the Providence River, in the

   Providence Harbor, at the head of Narragansett Bay.

   65.         Narragansett Bay is New England’s largest estuary, comprised of nearly 147 square

   miles, serving as a critical habitat for thousands of species, and a backyard to approximately

   887,863 Rhode Island residents. See Save the Bay, Facts and Figures About Narragansett Bay

   (2017), http://www.savebay.org/bayfacts (last visited Oct. 24, 2017). The Bay attracts an

   estimated 100,000 fishermen and twelve million tourists annually. See Save the Bay, Discover

   Your Bay, http://www.savebay.org/discover (last visited Oct. 24, 2017).

   66.         As of 2015, the Rhode Island commercial (including imports) and recreational fishing

   industries provide for 4,831 jobs and 3,354 jobs respectively. See National Oceanic and

   Atmospheric Administration (“NOAA”), Fisheries Econ. in the U.S. 2015, at 94, 75 (May 2017)

   http://www.st.nmfs.noaa.gov/Assets/economics/publications/FEUS/FEUS-2015/Report-

   Chapters/FEUS%202015-AllChapters_Final.pdf. In 2015, commercial fishing contributed

   approximately $167 million to Rhode Island’s economy, and recreational fishing contributed

   approximately $217 million. Id. at 8, 11.

   67.         Narragansett Bay contributes $100 million annually to the local recreational fishing

   economy and supports tens of thousands of tourism related jobs. See EPA Off. of Res. and Dev.

   & New England Reg’l Off., Striving for Balance in the Narragansett Bay Watershed: EPA’s

   Triple            Value         Simulation        (3VS)        Model         (Jan.         2013),

   https://www.epa.gov/sites/production/files/2013-12/documents/3vs-tool-nutrient-mgt-narr-

   bay.pdf. According to DEM, Narragansett Bay’s “annual contribution to Rhode Island’s

   economy totals billions of dollars,” and “[i]ts environmental and aesthetic value is priceless.”



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   Introduction          to       Narragansett            Bay,       Rhode          Island         DEM,

   http://www.dem.ri.gov/programs/emergencyresponse/bart/nbay.php (last visited July 31, 2019).

   68.      The health of Narragansett Bay has steadily improved over the last decade due in part to a

   largescale Combined Sewer Overflow (“CSO”) project undertaken by the Narragansett Bay

   Commission (“NBC”). See NBC, Evaluation of CSO Phase I Project: Water Quality Outcomes

   (Apr. 21, 2016),

   http://snapshot.narrabay.com/app/Services/MossFile.ashx?file=/s/emda/snapshot/Documents/Nar

   ragansett%20Bay%20Commission%20CSO%20Phase%20I%20Report.pdf. The NBC reports

   that as of 2014, the project had prevented the discharge of 6.15 billion gallons of sewage from

   entering Narragansett Bay and led to a 50% reduction in fecal coliform bacteria load annually.

   Id. at 1.

   69.      According to DEM Director Janet Coit, stormwater pollution still remains a challenge for

   the region. In a 2015 article, she stated, “[i]t’s going to require a lot of small actions,” and, “[w]e

   can’t deal with stormwater with just big tunnels.” Frank Carini, Urb. Runoff Fouls Econ.

   Opportunities, ECORI (Nov. 4, 2015),

   https://www.ecori.org/pollution-contamination/2015/11/4/urban-runoff-fouls-swimming-and-

   fishing-opportunities.

   70.      The 2015 Watershed Counts report, produced by the University of Rhode Island (“URI”)

   Coastal Institute, the Narragansett Bay Estuary Program, and EPA, highlighted the negative

   impacts of stormwater runoff caused by the urbanization of the watershed. See Watershed

   Counts, Cities by the Bay: Narragansett Bay Watershed Report with a Spotlight on Urban

   Waters      (2015),   http://watershedcounts.org/documents/Watershed_Counts_Report_2015.pdf.

   Over one thousand people live per square mile along Narragansett Bay, resulting in 56% of the



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   watershed being classified as urban. Id. at 7. The report cautions that urban ports are currently

   one of the sources of “pollution and degradation of our urban waters; innovative solutions are

   needed to reduce their impact.” Id. at 5. The report further highlights that urban ports are

   threatened by rising seas and coastal storms, and are responding accordingly:

                       [p]orts around the world are starting to plan in new ways to be
                       more resilient in the face of climate change. This ranges from
                       updating emergency response and land use plans to discussing how
                       vulnerable structures can be moved to a safer place within ports or
                       perhaps even moved to a remote location in the surrounding
                       community . . . ports need to look to the future to avoid drowning
                       in place.

   Id. at 20.

         III.      Shell’s Clean Water Act Permit

   71.          Shell operates the Providence Terminal pursuant to an individual permit issued by DEM

   under the RIPDES permit program, R.I. Gen. Laws Chapters 46-12, 42-17.1, and 42-35. Shell

   operates subject to Permit No. RI0001481, which was issued on February 14, 2011 and became

   effective on April 1, 2011. The Permit expired on April 1, 2016 and has been administratively

   continued.

   72.          The Permit authorizes Shell, subject to certain conditions, to discharge stormwater runoff,

   groundwater, holding pond drainage, hydrostatic/hydraulic test water, and treated tank bottom

   draw-off water.

   73.          The receiving water identified in the Permit is the Providence River (Narragansett

   Basin/Providence River Subbasin/Waterbody ID Number RI0007020E-01B), a tidal river that

   flows through the communities of Providence, East Providence, Cranston, Warwick, and

   Barrington on its way to Narragansett Bay.




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   74.    The upper half of the Providence River, where the Providence Terminal is located, is a

   Class SB1{a} waterbody “designated for primary and secondary contact recreational activities

   and fish and wildlife habitat. They shall be suitable for aquacultural uses, navigation, and

   industrial cooling. These waters shall have good aesthetic value.” R.I. Code R. 25-16-

   25:8(B)(2)(c).

   75.    The State of Rhode Island 2014 303(d) List, List of Impaired Waters FINAL identifies the

   upper Providence River (Waterbody ID Number RI0007020E-01B) as one of the waterways

   within Rhode Island that is impaired. DEM Off. of Water Res., 2014 303(d) List of Impaired

   Waters FINAL (2015), http://www.dem.ri.gov/pubs/303d/303d14.pdf.

   76.    The Permit includes conditions and limitations controlling Shell’s discharges at the

   Providence Terminal.

   77.    The Permit authorizes discharges from the Providence Terminal through three stormwater

   discharge outfalls to the Providence River: Outfalls 001A, 002A, and 003A. The Permit includes

   conditions that specify the required operation of the stormwater system, including specific

   conditions, limitations, and monitoring and reporting requirements governing the discharge from

   each outfall.

   78.    Stormwater and groundwater accumulated in the West Side Tank Farm is collected by

   drainage swales, pipes, and pumps and directed to a collection/retention pond and pumped

   through an eight-inch pipeline to an oil/water separator prior to discharge to the Providence

   River through Outfall 001A.

   79.    Stormwater accumulated in the East Side Tank Farm is collected by drains and pipes,

   directed to an oil/water separator and a holding pond, and then discharged to the Providence

   River through Outfall 002A.



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   80.    The stormwater accumulated from the paved parking area in the northwest corner of the

   East Side Tank Farm is collected in catch basins, directed through underground piping to an

   oil/water separator, and then discharged through Outfall 003A to the Providence River.

   81.    Though not authorized by the Permit, stormwater accumulated from an area of the

   Providence Terminal on the west side of Allens Avenue is collected in catch basins, directed

   through underground piping to a connection with the City of Providence stormwater drainage

   system, and then, based on information and belief, discharged through a stormwater pipe under

   the east side of the Providence Terminal to the City of Providence stormwater outfall into the

   Providence River.

   82.    Though not authorized by the Permit, runoff flows down an embankment located on the

   Providence Terminal property directly into the Providence River. See Ex. D.

   83.    Shell is required to have a stormwater pollution prevention plan in place at the

   Providence Terminal:

                  A Storm Water Pollution Prevention Plan (SWPPP) shall be
                  maintained and implemented by the permittee. The SWPPP shall
                  be prepared in accordance with good engineering practices and
                  identify potential sources of pollutants, which may reasonably be
                  expected to affect the quality of storm water discharges associated
                  with industrial activity from the facility.

   Ex. A, Permit Part I.C.1 at 12.

   84.    The Permit requires that “[i]n addition, the SWPPP shall describe and ensure the

   implementation of Best Management Practices (BMPs) which are to be used to reduce or

   eliminate the pollutants in storm water discharges associated with industrial activity at the

   facility and to assure compliance with the terms and conditions of this permit.” Id.

   85.    The Permit requires that

                  [t]he SWPPP in Part I.C. shall specifically address the adequacy of
                  containment of leaks and spills in storage areas (from Drums,
                                                   19
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                  Additive Tanks, Petroleum Product Tanks, etc.) and truck loading
                  area(s). Adequate containment must exist at these locations so as to
                  prevent untreated discharges from reaching any surface water.

   Ex. A, Permit Part I.B.5 at 11.

   86.    The Permit requires that

                  [t]he permittee shall immediately amend the SWPPP whenever
                  there is a change in design, construction, operation, or
                  maintenance, which has a significant effect of [sic] the potential
                  for the discharge of pollutants to the waters of the State; a release
                  of reportable quantities of hazardous substances and oil; or if the
                  SWPPP proves to be ineffective in achieving the general objectives
                  of controlling pollutants in storm water discharges associated with
                  industrial activity. Changes must be noted and then submitted to
                  DEM. Amendments to the SWPPP may be reviewed by DEM in
                  the same manner as Part I.C.3. of this permit.

   Ex. A, Permit Part I.C.4 at 12.

   87.    When any new or amended SWPPP is signed, the Permit requires Shell to certify that,

   among other things, “the information submitted is, to the best of [one’s] knowledge and belief,

   true, accurate, and complete.” Ex. A, Permit Part I.C.2 at 12; R.I. Code R. 25-16-14:12(d); 40

   C.F.R. § 122.22(d).

   88.    Shell has failed to consider and address the factors described in Section IV.A, infra, and

   the substantial risks of pollutant discharges associated with those factors, in its SWPPP, as more

   fully set forth below.

   89.    The SWPPP states that “[t]he oil/water separators are is [sic] inspected quarterly for both

   sludge layer and oil layer and cleaned-out as appropriate” and that “[t]he storm water collection

   ponds are also inspected quarterly for excessive sediment build-up or evidence of erosion, and

   corrective action taken as needed.” SWPPP at 4-4.

   90.    The separator and ponds are routinely dirty, and show no signs of regular cleaning or

   maintenance. Examples of this are attached at Exhibits D and E (the content of Exhibit E was

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   attached to CLF’s Notice Letter as Appendix A and the contents of Exhibit D and Exhibit E were

   also attached to CLF’s Supplemental Notice Letter as Appendix A.).

   91.      The Permit contains “monitor and report” requirements for numerous pollutant

   parameters for Outfalls 001A and 002A. See Ex. A, Permit Part I.A at 2-4.

   92.      The Permit requires Shell to “assure that all wastewater testing required by this permit, is

   performed in conformance with the method detection limits listed below . . . .” Ex. A, Permit

   Part I.D at 17.

   93.      The relevant method detection limits (“MDLs”) specified in the Permit are:

                           Benzene                       1.0 ug/l
                           Toluene                       1.0 ug/l
                           Ethylbenzene                  1.0 ug/l
                           Total Xylenes                 0.5 ug/l
                           Acenaphthene                  1.0 ug/l
                           Acenaphthylene                1.0 ug/l
                           Anthracene                    1.0 ug/l
                           Benzo(a)anthracene            0.013 ug/l
                           Benzo(a)pyrene                0.023 ug/l
                           Benzo(b)fluoranthene2         0.018 ug/l
                           Benzo(ghi)perylene            2.0 ug/l
                           Benzo(k)fluoranthene          0.017 ug/l
                           Chrysene                      0.15 ug/l
                           Dibenzo(a,h)anthracene        0.03 ug/l
                           Fluoranthene                  1.0 ug/l
                           Fluorene                      1.0 ug/l
                           Indeno(1,2,3-cd)pyrene        0.043 ug/l
                           Naphthalene                   1.0 ug/l
                           Phenanthrene                  1.0 ug/l
                           Pyrene                        1.0 ug/l

   Ex. A, Permit Part I.D at 18, 19.




   2
       Referred to in the MDL table on page 18 as “3,4-benzofluoranthene.”


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   94.    The Permit also states that “all sample results shall be reported as: an actual value, ‘could

   not be analyzed,’ less than the reagent water MDL, or less than an effluent or sludge specific

   MDL.” Ex. A, Permit Part I.D at 17.

   95.    As summarized in Exhibit F (the content of Exhibit F was attached to CLF’s Notice

   Letter as Appendix B and, the content of Exhibit F was attached to CLF’s Supplemental Notice

   Letter as Appendix B), Shell has often reported on its Discharge Monitoring Reports (“DMRs”)

   that the concentration of pollutants in the samples analyzed was “<1” ug/L. Reporting “<1” ug/L

   indicates that the MDL Shell is using for the pollutants is one ug/L, and the amount of pollutant

   in the analyzed samples was below the detection limit of one ug/L.

   96.    The MDL expressly required in the Permit for total xylenes, benzo(a)anthracene,

   benzo(a)pyrene, benzo(b)fluoranthene, benzo(k)fluoranthene, chrysene, dibenzo(a,h)anthracene,

   and indeno(1,2,3-cd)pyrene is not “one” ug/L; it is 0.5, 0.013, 0.023, 0.018, 0.017, 0.15, 0.03,

   and 0.043, ug/L respectively—all values below one. For these pollutant parameters, reporting

   “<1” ug/L is a violation of the Permit.

   97.    The Permit requires the following regarding sampling for “oil and grease” and “TSS:”

                  Two (2) samples shall be taken during wet weather and one (1)
                  during dry weather. Wet weather samples must be collected during
                  the first 30 minutes from discharges resulting from a storm event
                  that is greater than 0.1 inch of rainfall in a 24-hour period and at
                  least 72 hours from the previously measurable (greater than 0.1
                  inch of rainfall in a 24-hour period) storm event. If this is not
                  feasible, wet weather samples may be taken within the first hour of
                  discharge and noted on the Discharge Monitoring Report.
   Ex. A, Permit Part I.A.1 n.1 at 4.

   98.    As summarized in Exhibit G (the content of Exhibit G was attached to CLF’s Notice

   Letter as Appendix C, Table 1 and the content of Exhibit G was attached to CLF’s Supplemental




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   Notice Letter as Appendix C, Table 1), the DMRs for the Providence Terminal regularly indicate

   that samples were not taken in compliance with this Permit requirement.

   99.    For monitored pollutants other than “oil and grease” and “TSS”, the Permit requires that

                  [o]ne sample shall be taken during the first 30 minutes of discharge
                  from a storm event that is greater than 0.1 inch of rainfall in a 24-
                  hour period and at least 72 hours from the previously measurable
                  (greater than 0.1 inch of rainfall in a 24-hour period) storm event;
                  if this is not feasible, it may be taken within the first hour of
                  discharge and noted on the Discharge Monitoring Report.

   Ex. A, Permit Part I.A.1 n.2 at 4.

   100.   As summarized in Exhibit H (the content of Exhibit H was attached to CLF’s Notice

   Letter as Appendix C, Table 2 and the content of Exhibit H was attached to CLF’s Supplemental

   Notice Letter as Appendix C, Table 2), the DMRs for the Providence Terminal regularly indicate

   that samples were not taken in compliance with this Permit requirement.

   101.   For all pollutant monitoring, Shell is required to document specific storm characteristics

   on the DMRs. Specifically, the Permit requires that

                  [i]n addition to the required sampling results submitted in
                  accordance with Parts I.A.l. and l.A.3. of this permit, the permittee
                  must provide the date and duration (hours) of the storm event
                  sampled, the total depth of rainfall (inches), and the total volume
                  of runoff (Ft3). This information must be submitted with the
                  Discharge Monitoring Report forms at the frequency specified in
                  Part I.E.2 of this permit.

   Ex. A, Permit Part I.A.4.d at 8.

   102.   As summarized in Exhibit I (the content of Exhibit I was attached to CLF’s Supplemental

   Notice Letter as Appendix C, Table 3), the DMRs for the Providence Terminal indicate that the

   information required under this Permit provision was not recorded and/or provided.




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   103.   For all pollutant monitoring, if adverse climatic conditions prevent samples from being

   collected in a given period, Shell is required to submit an explanation as to why, and may only

   exercise this waiver once in a two-year period. Specifically, the Permit requires that

                  [i]f the permittee is unable to collect samples due to adverse
                  climatic conditions which make the collections of samples
                  dangerous or impractical, the permittee must submit, in lieu of
                  sampling data, a description of why samples could not be
                  collected, including available precipitation data for the monitoring
                  period. The permittee can only exercise this waiver once in a two
                  (2) year period for outfalls designated 001A, 002A, and 003A.

   Ex. A, Permit Part I.4.e at 8.

   104.   As summarized in Exhibit J (the content of Exhibit J was attached to CLF’s Supplemental

   Notice Letter as Appendix C, Table 4), the DMRs for the Providence Terminal indicate that

   Shell is over-utilizing this waiver requirement, in violation of the Permit’s prohibition on using

   the waiver more than once in a two-year period.

   105.   The Permit includes a condition entitled “Recordkeeping and Internal Reporting

   Procedures” that states:

                  Incidents such as spills, or other discharges, along with other
                  information describing the quality and quantity of storm water
                  discharges must be included in the records. All inspections and
                  maintenance activities must be documented and maintained on site
                  for at least five (5) years.

   Ex. A, Permit Part I.C.5.b.11 at 16 (emphasis added).

   106.   Because all discharges through Outfall 001A and some discharges through Outfall 002A

   are pump controlled, see Ex. A, Statement of Basis at 3, Shell must take samples at those

   locations within the first 30 minutes of discharge associated with pumping and keep records of

   all pump operations to be in compliance with the Permit, see Ex. A, Permit Part I.A.1 n.1, n.2 at

   4.



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   107.   The DMRs do not indicate that monitoring is occurring during pumped discharges at all,

   let alone during the first 30 minutes after the pumps are activated.

   108.   Shell’s failure to comply with the sampling requirements in its Permit distorts the

   sampling results it does report.

   109.   As summarized in Exhibit K (the content of Exhibit K was attached to CLF’s

   Supplemental Notice Letter as Appendix C, Table 5), Shell’s failure to comply with the sampling

   requirements in its Permit also causes its certifications that the information contained in its

   DMRs is “true, accurate, and complete” to be unlawful.

   110.   To be effective, stormwater monitoring must be conducted when the runoff first begins,

   as this is when the highest concentration of pollutants washes off of the facility and into the

   Providence River. It is during this time that Shell must demonstrate compliance with the terms

   and conditions of its Permit that have been imposed to limit the amount of pollutants in Shell’s

   discharge and protect the Providence River.

   111.   When Shell fails to sample at the time and under the conditions specified in the Permit, it

   fails to capture an accurate picture of the pollution discharging from its facility.

   112.   The Permit states: “[d]ischarges which cause a violation of water quality standards are

   prohibited.” Ex. A, Permit Part II(o) at 7.

   113.   The     State   water    quality   standards    for   benzo(a)anthracene,       benzo(a)pyrene,

   benzo(b)fluoranthene,      benzo(k)fluoranthene,       chrysene,       dibenzo(a,h)anthracene,    and

   indeno(1,2,3-cd)pyrene are well below “1” ug/L. See R.I. Code R. 25-16-25, Appendix B, Table

   1 (DEM Ambient Water Quality Criteria and Guidelines).




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   114.      Upon information and belief, Shell is violating Rhode Island water quality standards, at a

   minimum, on the days in which Shell has reported “<1” ug/L for the parameters listed above. See

   supra, ¶ 86.

   115.      The Permit states that “[t]he discharge shall not cause visible discoloration of the

   receiving waters” and “[t]he effluent shall contain neither a visible oil sheen, foam, nor floating

   solids at any time.” Ex. A, Permit Part I.A.4.b & I.A.4.c at 8.

   116.      State water quality standards prohibit any “sludge deposits, solid refuse, floating solids,

   oil, grease, scum” in Class SB1{a} waterbodies, including the relevant portion of the Providence

   River. R.I. Code R. 25-16-25:8, Table 2.8.D.(3).

   117.      There have been past and ongoing discharges and/or releases associated with the

   Providence Terminal that result in a visible oil sheen at the Providence Terminal outfalls and in

   the Providence River.

   118.      A 2012 Emergency Response Report, filed with the DEM Division of Compliance and

   Inspection, stated that “oil has been coming out into the Providence River [near one of the

   outfalls],” Jill Eastman, Investigator, State of R.I. & Providence Plantations Dep’t of Envtl.

   Mgmt., Emergency Response Rep. (Feb. 23, 2012); see also infra, ¶ 152, in violation of the

   Permit.

   119.      The Permit requires that “[t]he wastewater collection and treatment system shall be

   operated and maintained in order to provide optimal treatment of the wastewaters prior to

   discharge to the receiving water.” Ex. A, Permit Part I.B.4 at 11.

   120.      The current condition of the Providence Terminal wastewater collection and treatment

   system does not comply with this provision of the Permit.




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   121.      The Providence Terminal outfall pipes, which discharge directly into the Providence

   River, are in disrepair.

       IV.      Pollutant Discharges and/or Releases from the Providence Terminal

   122.      Shell has failed to design and operate the Providence Terminal, including, but not limited

   to, its wastewater treatment system, in accordance with good engineering practices and otherwise

   in accordance with the mandatory conditions of the Permit, which are intended to prevent the

   discharge and/or release of pollutants from the Providence Terminal in amounts or

   concentrations greater than allowed under the Permit.

   123.      Because Shell has not designed and operated the Providence Terminal in accordance with

   good engineering practices, the Providence Terminal has discharged and/or released, and is

   likely to discharge and/or release, pollutants in amounts or concentrations greater than allowed

   under the Permit due to, including, but not limited to, inadequate infrastructure design and

   infrastructure failures.

   124.      The Providence Terminal has not been designed or modified to address pollutant

   discharges and/or releases due to precipitation and/or flooding; specifically, the Providence

   Terminal is likely to discharge and/or release pollutants into surrounding waters, groundwater,

   the community, and the air because it has not been designed to withstand precipitation and/or

   flooding associated with tides, storm events and storm surge, sea level rise, and increasing sea

   surface temperatures.

   125.      The location, elevation, and lack of preventative infrastructure at the Providence

   Terminal make it especially vulnerable to these risks.




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             A. Factors Causing and/or Contributing to the Substantial Risk of Pollutant
                Discharges and/or Releases from the Providence Terminal

   126.      In addition to the violations set forth above, Shell has discharged and/or released

   pollutants from the Providence Terminal in amounts or concentrations greater than allowed

   under the Permit, in violation of the Permit and the Clean Water Act, and will likely continue to

   do so, due to, including, but not limited to, infrastructure failures and inadequate infrastructure

   design.

   127.      Shell has failed to use good engineering practices at the Providence Terminal because it

   has not designed the Providence Terminal, including, but not limited to, the wastewater treatment

   system, to address precipitation and/or flooding, which is exacerbated by storms and storm

   surges, sea level rise, and increasing sea surface temperatures.

   128.      Climate change has further exacerbated and continues to exacerbate precipitation events

   and flooding, in part because warmer air holds more moisture, higher sea surface temperatures

   cause stronger storms and higher storm surges, and melting sea ice raises sea levels.

   129.      In Massachusetts v. Environmental Protection Agency, the Supreme Court recognized

   “the enormity of the potential consequences associated with manmade climate change” and

   “[t]he risk of catastrophic harm.” 549 U.S. 497, 525-26 (2007). “The harms associated with

   climate change are serious and well recognized.” Id. at 521.

   130.      Shell has long been well aware of the present impacts and risks of climate change.

   131.      Shell takes the following public policy position on climate change: “[w]e have recognised

   the importance of the climate challenge for a long time now, and we share our knowledge,

   experience and understanding of the energy system with policymakers.” Shell Global, Climate

   Change – Public Policy Position, http://www.shell.com/sustainability/sustainability-reporting-




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   and-performance-data/performance-data/greenhouse-gas-emissions/climate-change-public-

   policy-position.html (last visited Oct. 24, 2017).

   132.   According to Shell, “[w]e were one of the first energy companies to recognise the climate

   change threat and to call for action.” Royal Dutch Shell plc, Responsible Energy Sustainability

   Rep., at 12 (2008),

   https://www.unglobalcompact.org/system/attachments/1307/original/COP.pdf?1262614257.

   133.   In 1991, Shell published a twenty-eight minute educational film entitled “Climate of

   Concern,” which warned about the risks of climate change. See Damian Carrington & Jelmer

   Mommers, ‘Shell Knew’: Oil Giant’s 1991 Film Warned of Climate Change Danger, THE

   GUARDIAN (Feb. 28, 2017), https://www.theguardian.com/environment/2017/feb/28/shell-knew-

   oil-giants-1991-film-warned-climate-change-danger. Shell claimed the warning about climate

   change was “endorsed by a uniquely broad consensus of scientists in their report to the United

   Nations at the end of 1990.” Id. The film says that, “global warming is not yet certain, but many

   think that to wait for final proof would be irresponsible. Action now is seen as the only safe

   insurance.” Id.

   134.   Shell is a participant in numerous international initiatives related to climate change,

   including, but not limited to: founding member of the International Emissions Trading

   Association (1999); Carbon Disclosure Project (participation since 2003); World Business

   Council for Sustainable Development; Prince of Wales Corporate Leaders Group on Climate

   Change (2005-2015), “Communiqué series,” 2012 and 2014 Communiqués; World Bank: 2014

   Carbon Pricing Statement, 2015 Zero Routine Flaring by 2030 Initiative, and Carbon Pricing

   Leadership Coalition; Global CCS Institute; 2015 Oil and Gas Climate Initiative; Paying for

   Carbon Coalition – 2015: letter of six CEOs to Ms. Christina Figueres, Executive Secretary of



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   the UNFCCC; Energy Transitions Commissions; and Taskforce for Climate-Related Financial

   Disclosures. Shell Global, Climate Change – Public Policy Position, Our Efforts,

   http://www.shell.com/sustainability/sustainability-reporting-and-performance-data/performance-

   data/greenhouse-gas-emissions/climate-change-public-policy-position.html (last visited Oct. 24,

   2017).

   135.      For over 40 years, Shell has claimed to develop “scenarios” in order to “make crucial

   choices in uncertain times and tackle tough energy and environmental issues.” Shell Global,

   Earlier             Scenarios,          http://www.shell.com/energy-and-innovation/the-energy-

   future/scenarios/new-lenses-on-the-future/earlier-scenarios.html (last visited Oct. 24, 2017).

   Since the 1990s, Shell claims to have “helped other organisations in developing their own

   scenarios in various subject areas,” including “climate change with the Intergovernmental Panel

   on Climate Change [(“IPCC”)].” Peter Knight, Profits and Principles – does there have to be a

   choice? The Shell Rep. 1998, at 25 (1998), http://www.shell.com/sustainability/sustainability-

   reporting-and-performance-data/sustainability-

   reports/previous/_jcr_content/par/expandablelist/expandablesection_332888471.stream/1454157

   664246/7419d7c0b96ee36e92059e205107e3106d35d9d8f3a4909c8523f49ded9e4727/shell-

   sustainability-report-1998-1997.pdf.

   136.      The IPCC “was established by the United Nations Environment Programme (UNEP) and

   the World Meteorological Organization (WMO) in 1988 to provide the world with a clear

   scientific view on the current state of knowledge in climate change and its potential

   environmental         and        socio-economic        impacts.”      IPCC,        Organization,

   http://www.ipcc.ch/organization/organization.shtml (last visited Oct. 24, 2017).




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   137.   Shell has contributed its “scenarios” to IPCC Assessment Reports and Special Reports

   since as early as 1995 and as recently as 2014.

   138.   Shell scientists have contributed to IPCC Assessment Reports in the capacities of

   Reviewer, Contributing Author, Expert Reviewer, and Lead Author since the Second Assessment

   Report and up until the most recent Fifth Assessment Report. Shell scientists served in Working

   Groups I and III on the topics of Scientific Basis and Mitigation of Climate Change, respectively.

   139.   Shell scientists have further contributed to IPCC Special Reports, including working on

   the 1994 report entitled Radiative Forcing of Climate Change and An Evaluation of the IPCC

   IS92              Emission                Scenarios,                 https://www.ipcc.ch/pdf/special-

   reports/cc1994/climate_change_1994.pdf; the 2000 report entitled Emissions Scenarios,

   https://www.ipcc.ch/ipccreports/sres/emission/emissions_scenarios.pdf; the 2000 report entitled

   Methodological         and      Technological          Issues     in      Technology       Transfer,

   http://www.ipcc.ch/ipccreports/sres/tectran/index.php?idp=0; and the 2005 report entitled

   Carbon       Dioxide         Capture      and          Storage,      https://www.ipcc.ch/pdf/special-

   reports/srccs/srccs_wholereport.pdf.

   140.   Shell’s decades-long development of scenarios suggests an embedded company practice

   of preparedness. Shell claims that the scenarios have “helped us anticipate and adapt to

   momentous events like the oil shocks of the 1970s, the collapse of communist Europe in 1989,

   the surge in world energy demand and the threat of climate change.” Shell Global, Earlier

   Scenarios, http://www.shell.com/energy-and-innovation/the-energy-future/scenarios/new-lenses-

   on-the-future/earlier-scenarios.html (last visited Oct. 24, 2017).

   141.   Shell was an early member of the Global Climate Coalition (“GCC”), but withdrew its

   membership in April 1998 when the GCC began lobbying against establishing legally binding



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   targets and timetables in the Kyoto Protocol, which developed milestones aimed to reduce CO2

   emissions. See Profits and Principles – does there have to be a choice? The Shell Rep. 1998, at

   41.

   142.   According to Shell, “[t]he main disagreement centred on the Kyoto protocol which aims

   to cut overall greenhouse gas emissions by 5% by the year 2012. The GCC is actively

   campaigning against legally binding targets and timetables as well as ratification by the US

   government. The Shell view is that prudent precautionary measures are called for.” Id.

   143.   Shell has since continued to publicly reiterate its support for international agreements,

   such as the Kyoto Protocol and the Paris Climate Agreement. See Chris Noon, Shell CEO

   Targets Washington Over Kyoto, FORBES (Dec. 5, 2006) (Former Shell CEO Jeroen van der Veer

   on the Kyoto Protocol: “For us as a company, the debate about CO2 is over. We’ve entered a

   debate about what we can do about it.”), https://www.forbes.com/2006/12/05/shell-kyoto-ceo-

   face-cx_cn_1205autofacescan02.html; Samantha Raphelson, Energy Companies Urge Trump to

   Remain in Paris Climate Agreement, NPR (May 18, 2017) (Shell CEO Ben Van Beurden on the

   Paris Climate Agreement: “We believe climate change is real;” “We believe that the world needs

   to go through an energy transition to prevent a very significant rise in global temperatures. And

   we     need     to    be    part    of     that        solution   in   making    it      happen.”),

   http://www.npr.org/2017/05/18/528998592/energy-companies-urge-trump-to-remain-in-paris-

   climate-agreement.

   144.   Regardless of the cause, as summarized in the Third National Climate Assessment,

   climate change is currently impacting human and environmental health and welfare.

   145.   “Global climate is changing and this is apparent across the U.S. in a wide range of

   observations. The global warming of the past 50 years is primarily due to human activities,



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   predominantly the burning of fossil fuels.” J. M. Melillo et al. eds., Third Nat’l Climate

   Assessment, at 15 (2014),

   http://s3.amazonaws.com/nca2014/low/NCA3_Climate_Change_Impacts_in_the_United%20Stat

   es_LowRes.pdf?download=1.

   146.   “Some extreme weather and climate events have increased in recent decades, and new

   and stronger evidence confirms that some of these increases are related to human activities.” Id.

   147.   “Human-induced climate change is projected to continue, and it will accelerate

   significantly if global emissions of heat-trapping gases continue to increase.” Id.

   148.   “Impacts related to climate change are already evident in many sectors and are expected

   to become increasingly disruptive across the nation throughout this century and beyond.” Id.

   149.   “Climate change threatens human health and well-being in many ways, including through

   more extreme weather events and wildfire, decreased air quality, and diseases transmitted by

   insects, food, and water.” Id. at 16.

   150.   “Infrastructure is being damaged by sea level rise, heavy downpours, and extreme heat;

   damages are projected to increase with continued climate change.” Id.

   151.   “Water quality and water supply reliability are jeopardized by climate change in a variety

   of ways that affect ecosystems and livelihoods.” Id.

   152.   “Ecosystems and the benefits they provide to society are being affected by climate

   change. The capacity of ecosystems to buffer the impacts of extreme events like fires, floods,

   and severe storms is being overwhelmed.” Id. at 17.

   153.   “Ocean waters are becoming warmer and more acidic, broadly affecting ocean

   circulation, chemistry, ecosystems, and marine life.” Id.




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   154.    “Planning for adaptation (to address and prepare for impacts) and mitigation (to reduce

   future climate change, for example by cutting emissions) is becoming more widespread, but

   current implementation efforts are insufficient to avoid increasingly negative social,

   environmental, and economic consequences.” Id.

   155.    These impacts, which exacerbate the risk of pollutant discharges and/or releases from

   precipitation and/or flooding, have already occurred, are continuing to occur, and are certain to

   worsen over time.

   156.    “There is strong scientific consensus that carbon dioxide in the atmosphere warms the air

   and sea surface, accelerates sea level rise, makes the ocean more acidic, causes shifts in

   precipitation and weather patterns, and leads to more extreme weather events, among other

   effects.” R.I. Coastal Res. Mgmt. Council (“CRMC”), R.I. Ocean Special Area Mgmt. Plan (“RI

   Ocean     SAMP”),      Vol.   1,    Ch.    3:   Global   Climate    Change,     at   5   (2010),

   http://seagrant.gso.uri.edu/oceansamp/pdf/samp_approved/300_GlobalClimateChange_APPRO

   VED_5.4_Clean.pdf.

   157.    “These effects are already being witnessed globally and in Rhode Island and are

   projected to intensify in years to come.” Id.

   158.    “Infrastructure will be increasingly compromised by climate-related hazards, including

   sea level rise, coastal flooding, and intense precipitation events.” Third Nat’l Climate

   Assessment, Ch. 16: Northeast, at 379.




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              1. Precipitation

   159.   Severe or intense precipitation events have caused, contributed to, and will continue to

   cause and contribute to pollutant discharges and/or releases from the Providence Terminal due

   to, including, but not limited to, inadequate infrastructure design and infrastructure failure.

   160.   Public records associated with the Providence Terminal acknowledge that its stormwater

   drainage and treatment system cannot effectively handle large precipitation events, even as these

   events are increasing in frequency and duration.

   161.   In a 2010 Emergency Response Report documenting a heavy rain event resulting in a

   spill, DEM Investigator John Leo states: “I checked the area around the facility and discovered a

   heavy sheen coming out of several storm drains along the shore. This was due to the heavy rains

   over the last few days the spill was coming out of the drains so fast that booms will not work and

   the conditions are not conducive to using absorbent pads and booms on the sheen.” John Leo,

   Investigator, State of R.I. & Providence Plantations Dep’t of Envtl. Mgmt., Emergency Response

   Rep. (Apr. 5, 2010).

   162.   The heavy rains referenced in the Emergency Response Report had occurred a full week

   earlier, on March 29 and 30. See NOAA & Nat’l Ctrs. for Envtl. Info., Rec. of Climatological

   Observations, Providence, RI.

   163.   According to DEM in issuing the Permit, “[t]he circumstances at the facility have not

   substantially changed since the issuance of the last RIPDES permit . . . .” Ex. A, Permit

   Statement of Basis at 7.

   164.   The annual amount of precipitation in Rhode Island has increased by 6-11% since 1970.

   See R.I. Exec. Climate Change Coordinating Council (“EC4”), 2017 EC4 Ann. Rep., at 32 (Aug.




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   2017), http://climatechange.ri.gov/documents/ec4ar17.pdf. Additionally, “the frequency and

   magnitude of extreme precipitation events has increased.” Id.

   165.    From 1958 to 2012, the annual amount of precipitation falling in very heavy events

   (defined as the heaviest one percent of all daily events) increased by 71% in Rhode Island and

   Massachusetts. See Narragansett Bay Estuary Program, The State of Narragansett Bay and Its

   Watershed Technical Rep., at 63 (2017), http://nbep.org/01/wp-content/uploads/2017/09/State-

   of-Narragansett-Bay-and-Its-Watershed.pdf. “An increased intensity of precipitation events has

   become the norm.” Id.

   166.    Warmer temperatures result in higher amounts of precipitation because warmer air holds

   more moisture. “Between 1895 and 2011, temperatures in the Northeast increased by almost 2˚F

   (0.16˚F per decade), and precipitation increased by approximately five inches, or more than 10%

   (0.4 inches per decade).” Third Nat’l Climate Assessment, Ch. 16: Northeast at 373.

   167.    “The impacts of climate change, from rising sea levels to more extreme rainfall events,

   are already being felt in Rhode Island, like elsewhere in New England. It is widely accepted that

   action is needed now, not just in the future.” EC4, 2016 EC4 Ann. Rep., at 4 (June 2016),

   http://climatechange.ri.gov/documents/ar0616.pdf.

   168.    “Climate change is expected to result in more frequent heavy rains, affecting stream flow

   in Northeastern states, with increases in 3-day peak flows contributing to increases in flooding

   risks.” Id. at 40.

   169.    “More intense storms, bringing more precipitation in short periods of time, will also

   require increased capacity of stormwater facilities adjacent to coastal infrastructure supporting

   port facilities.” RI Ocean SAMP, Vol. 1, Ch. 3: Global Climate Change at 45.




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   170.    In 1986, Shell circulated an internal report labeled “Confidential” and titled The

   Greenhouse Effect. The report’s summary states that “[m]an-made carbon dioxide, released into

   and accumulated in the atmosphere, is believed to warm the earth through the so-called

   greenhouse effect.” Shell Internationale Petroleum, The Greenhouse Effect, at 1 (1986), excerpt

   at https://thecorrespondent.com/6286/if-shell-knew-climate-change-was-dire-25-years-ago-why-

   still-business-as-usual-today/692773774-4d15b476. The report predicts the impacts of such

   warming, stating that “[m]athematical models of the earth’s climate indicate that if this warming

   occurs then it could create significant changes in sea level, ocean currents, precipitation patterns,

   regional temperature and weather.” Id. The report further acknowledges that “[w]ith fossil fuel

   combustion being the major source of CO2 in the atmosphere, a forward looking approach by the

   energy industry is clearly desirable . . . .” Id.

   171.    A 2013 Shell scenario report addressed an impending “resource stress nexus” between

   increasing demand and decreasing supply of food, water, and energy, stating: “[c]limate change

   could lead to extreme weather conditions, such as lengthy droughts and torrential flooding that

   would impact agriculture and livelihoods. Water shortages could intensify social and political

   instability, provoke conflicts, and cause irreparable environmental damage.” Shell International

   BV, New Lens Scenarios, A Shift in Perspective for a World in Transition, at 11 (2013),

   http://www.shell.com/promos/english/_jcr_content.stream/1448477051486/08032d761ef7d81a4

   d3b1b6df8620c1e9a64e564a9548e1f2db02e575b00b765/scenarios-newdoc-english.pdf.

   172.    One year later, Shell released a report entitled New Lenses On Future Cities, which

   addressed “climate adaptation” in coastal cities—including Rotterdam, where climate change

   resiliency efforts to mitigate against flooding, heavy rains, and rising sea levels are under-way—

   demonstrating Shell’s extensive knowledge of the climate change challenges facing coastal



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   communities. Shell International BV, New Lenses On Future Cities, A New Lens Scenarios

   Supplement,     at   13-15    (2014),    http://www.shell.com/energy-and-innovation/the-energy-

   future/scenarios/new-lenses-on-future-

   cities/_jcr_content/par/textimage_1687505569.stream/1447854282580/c391a74670d29b3e8f4f6

   4a70a6d5653fb1f9fbeef0ede22dd2daccdb5cdab2c/newlensesonfuturecities-june-2014.pdf.

   173.   However, Shell has not taken action to address severe precipitation events at the

   Providence Terminal.

              2. Flooding

   174.   Flooding in Rhode Island and the Providence area will cause and contribute to pollutant

   discharges and/or releases from the Providence Terminal due to, including, but not limited to,

   inadequate infrastructure design and infrastructure failure.

   175.   Flooding in Rhode Island and the Providence area has increased, is continuing to

   increase, and will only worsen over time, exacerbating the risk of pollutant discharges and/or

   releases from the Providence Terminal.

   176.   “Rhode Island has experienced a significant increase in both flood frequency and flood

   severity over the past 80 years. RI and throughout most of southern New England has

   experienced a doubling of the frequency of flooding and an increase in the magnitude of flood

   events.” 2016 EC4 Ann. Rep. at 41.

   177.   “By mid-century, the 100-year flood is expected to occur more frequently than every 25

   years in nearby Woods Hole, Mass., under the high emissions scenario. By late century, it is

   expected to occur more frequently than every two years.” RI Ocean SAMP, Vol. 1, Ch. 3: Global

   Climate Change, at 43 (citation omitted).




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   178.   “When flooding overtops ports, there is large area of inland inundation because ports are

   typically built in flat, low-lying areas. Options for protection include, but are not limited to,

   elevating facilities, filling land, and/or installing shoreline protection structures.” Id. at 44

   (citation omitted).

   179.   “[C]oastal infrastructure is more likely to be flooded by higher sea levels, and more

   coastal infrastructure will be exposed to higher wave loads and tidal fluxes, increasing fatigue

   and corrosion.” Id. at 41.

   180.   The Federal Emergency Management Agency (“FEMA”) has described the Metro Bay

   Region—which includes twenty-four miles of shoreline along Cranston, East Providence,

   Providence, and Pawtucket, including the Providence Terminal—as “the Achilles’ heel of the

   Northeast due to its vulnerability to flooding.” Natural Hazards: Hurricanes, Floods, and Sea

   Level Rise in the Metro Bay Region, Special Area Mgmt. Plan, Analysis of Issues and

   Recommendations for Action, at 4 (Sept. 2009),

   http://sos.ri.gov/documents/archives/regdocs/released/pdf/CRMC/5766.pdf.

   181.   “Providence’s vulnerability to flooding stems from two main geographic features: its

   location at the head of Narragansett Bay and its low elevation downtown and along the port.” RI

   Ocean SAMP, Vol. 1, Ch. 3: Global Climate Change at 44.

   182.   “In 1954, the downtown [Providence] area was flooded by 12 feet of water. Damage is

   estimated to have been $25.1 million, about $134 million in 2000 dollars.” Id. (citation omitted).

   183.   According to CRMC, based on past patterns of flooding, FEMA’s National Flood

   Insurance Program has designated 14% of Rhode Island’s landbase as Special Flood Hazard

   Areas—areas with a 1% annual chance of flooding in a given year. See CRMC, The State of R.I.




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   Coastal Res. Mgmt. Program, As Amended, at Section 145, p. 5 (Dec. 2012),

   http://www.crmc.ri.gov/regulations/RICRMP.pdf.

   184.    The FEMA flood map for the area where the Providence Terminal is located, last revised

   in September 2013, shows that almost all of the Providence Terminal is within the flood hazard

   zone.

   185.    The portion of the Providence Terminal located to the east of Allens Avenue is

   designated as one of the “Special Flood Hazard Areas (SFHAs) Subject to Inundation by the 1%

   Annual Chance Flood.”

   186.    The 1% annual chance flood, also known as the base flood or 100-year flood, is the flood

   that has a 1% chance of being equaled or exceeded in any given year.

   187.    Most of the western portion of the Providence Terminal (to the west of Allens Avenue) is

   designated as “Other Flood Areas” on the FEMA flood map.

   188.    The FEMA flood map depicts the “Limit of Moderate Wave Action,” which “represents

   the approximate landward limit of the 1.5-foot breaking wave,” as located further inland than the

   group of tanks closest to the Providence River.

   189.    The Providence River’s shoreline has evolved over more than two centuries of

   development and landfill. From 1939 to 2003, the site containing the Providence Terminal’s East

   Side Tank Farm expanded by as much as 112.26 m (368.3 ft) into the Providence River. See

   CRMC, Shoreline Change Maps, Narragansett Bay, R.I.: Providence, Fox Point Reach (2003),

   http://www.crmc.ri.gov/maps/shorechange/Providence_Fox_Point_Reach.pdf.

   190.    Situated on backfill, the Providence Terminal is at risk from flooding exacerbated by

   storms and storm surges, sea level rise, and increasing sea surface temperatures.




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                   a. Storms and Storm Surge Contribute to Flooding

   191.     Increasingly frequent and/or intense storm events and storm surges will cause and

   contribute to pollutant discharges and/or releases from the Providence Terminal due to,

   including, but not limited to, inadequate infrastructure design and infrastructure failure.

   192.     “People living in coastal flood zones are vulnerable to direct loss of life and injury

   associated with tropical storms and nor’easters. Flood damage to personal property, businesses,

   and public infrastructure can also result.” Third Nat’l Climate Assessment, Ch. 16: Northeast at

   378.

   193.     “[I]t is virtually certain [i.e., there is a 99–100% probability] that intense tropical cyclone

   activity has increased in the North Atlantic since 1970.” See IPCC, Climate Change 2014

   Synthesis Rep. Fifth Assessment Rep., at 2 n.1, 53 (2014), http://www.ipcc.ch/pdf/assessment-

   report/ar5/syr/SYR_AR5_FINAL_full_wcover.pdf.

   194.     Coinciding with the increase in hurricanes has been “a substantial increase in most

   measures of Atlantic hurricane activity since the early 1980s, the period during which high-

   quality satellite data are available. These include measures of intensity, frequency, and duration

   as well as the number of strongest (Category 4 and 5) storms.” Third Nat’l Climate Assessment at

   41.

   195.     Along the U.S. East Coast, “there has been a trend of increasing significant wave heights

   since at least the mid-1970s, with the trends being statistically significant at the 95% confidence

   level.” Paul Komar & Jonathan Allan, Increasing Hurricane-Generated Wave Heights along the

   U.S. East Coast and Their Climate Controls, JOURNAL           OF   COASTAL RESEARCH, at 487 (Mar.

   2008),

   http://users.clas.ufl.edu/adamsp/Outgoing/ForJJandLaura/Komar2008Journal%20of%20Coastal



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   %20Research.pdf. Those positive trends in wave height along the East Coast have been linked to

   the increasing numbers of hurricanes. IPCC, Managing the Risks of Extreme Events & Disasters

   to Advance Climate Change Adaptation: Special Rep. of the IPCC, at 181 (2012),

   https://www.ipcc.ch/pdf/special-reports/srex/SREX_Full_Report.pdf.

   196.    The storm surge threat associated with nor’easters in New England is steadily increasing

   due to sea level rise. See Jeff Masters, Climate Change Impact on Nor’easters: An Increased

   Storm      Surge      Threat,      WEATHER          UNDERGROUND       (Feb.      11,     2013),

   https://www.wunderground.com/blog/JeffMasters/climate-change-impact-on-noreasters-an-

   increased-storm-surge-threat.html. Moreover, “[w]intertime top 5% heavy precipitation events

   (both rain and snow) have increased over the Northeast U.S. in recent decades, so Nor’easters

   have been more of a threat to cause flooding problems and heavy snow events.” Jeff Masters,

   The Future of Intense Winter Storms, WEATHER UNDERGROUND (Mar. 3, 2010) (citation

   omitted), https://api.wunderground.com/blog/JeffMasters/article.html?entrynum=1441&MR=1.

   197.    “The impacts of climate change upon Rhode Island’s built and natural environments are

   wide-ranging, discernible and documented, and, in many cases growing in severity. The

   climatological sciences with increasing temporal and spatial accuracy project substantial future

   impacts upon Rhode Island, including stronger, more frequent hurricanes and Nor’easters,

   greater frequency of other extreme weather events such as heat waves.” R.I. Climate Change

   Comm’n, Adapting to Climate Change in the Ocean State: A Starting Point, at 4 (2012),

   http://www.crmc.ri.gov/climatechange/RICCC_2012_Progress_Report.pdf.

   198.    “Coastal and offshore infrastructure may be subject to greater damage from more intense

   storms and increased decay from increasingly acidic seas.” RI Ocean SAMP, Vol. 1, Ch. 3:

   Global Climate Change at 41.



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   199.    “Increased storm intensity will also increase degradation and vulnerability of associated

   infrastructure. Movements of sediment due to increased storminess may also decrease safety of

   structures and increase probability of flooding through erosion of coastal land.” Id. at 45.

   200.    “Storms and associated storm surge cause damage to ports, seawalls and revetments,

   docks, roads, bridges, wastewater treatment plants and stormwater infrastructure.” Id. at 12.

   201.    “During the Hurricane of 1938, Providence experienced a storm surge of more than 15

   feet above mean tide level (MTL), with waves measuring 10 feet above the surge level. The

   hurricane flood waters inundated the city, damaged buildings and other infrastructure, and

   demolished the wharves of the inner harbor. Damage amounted to $16.3 million, equivalent to

   about $225 million in 2000 dollars.” Id. at 44.

   202.    The Port of Providence, located within the Metro Bay Region on the Providence River, is

   directly at risk from these impacts. A URI research team found that “[s]ince 1851, 37 hurricanes

   have come within 50 miles of Rhode Island”—“approximately a ‘4 year return period.’” Special

   House Comm’n to Study Econ. Risk Due to Flooding and Sea Level Rise, submitted to the R.I.

   House         of        Representatives,          at       27        (May         12,          2016),

   http://www.rilin.state.ri.us/commissions/fsrcomm/commdocs/20160512%20Economic%20Risk

   %20Due%20to%20Flooding%20and%20Sea%20Level%20Rise%20-%20final.pdf.                             When

   accounting for climate change impacts, such as increased frequency and intensity of storms and

   sea level rise, a “1 in 100 year storm scenario could become the 1 in 3 year storm scenario.” Id.

   203.    CRMC developed StormTools, a series of maps for the Rhode Island Shoreline Change

   Special Area Management Plan. In developing those maps, researchers examined climate change

   risks such as sea level rise, floodplain mapping, extra/tropical storms, and nuisance storms.

   Applying data, including, but not limited to, data from the U.S. Army Corps of Engineers’ North



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   Atlantic Coast Comprehensive Study of storm surge and wave height at the 95% confidence

   interval and the NOAA high curve sea level rise projections (Sea-Level Change Curve

   Calculator), CRMC predicted coastal inundation due to storm surge and tides “today.”

   204.   As indicated in the StormTools modeling, the majority of the Providence Terminal is

   presently at risk from a 4%, 2%, 1%, and 0.2% annual chance storm at respectively increasing

   flood depths. See CRMC, URI CRC,               TODAY:      Extra/Tropical Storms,        Advanced

   STORMTOOLS, http://arcg.is/1Wv9uT (select “Content” on the top left to reveal selections for

   25, 50, 100, and 500 year coastal storms; selecting those storms reveal maps showing flooding)

   (last visited Oct. 25, 2017).

   205.   According to StormTools, for 25 year coastal storms—which have a 4% chance of

   occurring in a given year—researchers predicted flood depths as great as 11 feet, with impacts

   extending to the West Side Tank Farm of the Providence Terminal.

   206.   According to StormTools, for 50 year coastal storms—which have a 2% chance of

   occurring in a given year—researchers predicted flood depths as great as 12 feet, with impacts

   extending to the West Side Tank Farm of the Providence Terminal.

   207.   According to StormTools, for 100 year coastal storms—which have a 1% chance of

   occurring in a given year—researchers predicted flood depths as great as 15 feet, with impacts

   extending to the West Side Tank Farm of the Providence Terminal.

   208.   According to StormTools, for 500 year coastal storms—which have a 0.2% chance of

   occurring in a given year—researchers predicted flood depths as great as 19 feet, with impacts

   extending to the West Side Tank Farm of the Providence Terminal.

   209.   NOAA developed the SLOSH model (Sea, Lake, and Overland Surges from Hurricanes),

   which produces hurricane surge values for worst case hurricane surge inundation areas.



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   210.   The Army Corps of Engineers’ New England District utilized the data to examine areas

   of inundation for Category 1, 2, 3, and 4 hurricanes, producing a GIS overview layer on the map.

   211.   The SLOSH model depicts the present-day risk to the Providence Terminal of inundation

   from storm surge associated with a Category 1 through Category 4 hurricane.

   212.   As indicated in the SLOSH model, the majority of the Providence Terminal East Side

   Tank Farm is included within a “Category 1” and “Category 2” Hurricane Surge Inundation

   Zone, nearly the entire Providence Terminal is included within the “Category 3” Hurricane Surge

   Inundation Zone, and the entire Providence Terminal is included within the “Category 4”

   Hurricane Surge Inundation Zone:




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   See    URIEDC,          RIGIS,    Hurricane     Surge    Inundation        Areas    (Worst   Case),

   http://www.arcgis.com/home/webmap/viewer.html?useExisting=1&layers=43169083ba5f4566ae

   38be9223450a3d (last visited Oct. 25, 2017).

   213.   The 1998 Shell Sustainability Report says of the greenhouse effect: “there is concern that

   it will cause the world to warm up, which could lead to a change in climate and local weather

   patterns, possibly with increased droughts, floods, storms and sea level rise.” Profits and

   Principles – does there have to be a choice? The Shell Rep. 1998 at 40.

   214.   In August 2005, Shell’s Mars Platform in the Gulf of Mexico suffered damages during

   Hurricane Katrina, not coming back online until May 2006. The storm forced Shell to begin

   “preparing for hurricanes in the Gulf of Mexico.” Shell, The Shell Sustainability Rep. 2006:

   Meeting           the            Energy         Challenge,            at           23        (2006),

   https://www.unglobalcompact.org/system/attachments/1914/original/COP.pdf?1262614296.             In

   its 2006 Sustainability Report, Shell stated:

                  [w]e have used the knowledge gained from the Mars recovery to
                  further improve the ability of our offshore equipment to withstand
                  hurricanes and to reduce disruptions when equipment is damaged .
                  . . In anticipation of future storms, we are improving our
                  communications systems, increasing the number of helicopters and
                  ships and spare parts we have on call, and working with others to
                  find alternative ways to get oil to refineries safely when part of the
                  pipeline network is damaged.

   Id.

   215.   However, Shell has not taken action to address these threats at the Providence Terminal.

                  b. Sea Level Rise Contributes to Flooding

   216.   Sea level rise that has already happened, and that will certainly happen in the near future,

   interacts with the impacts of tides, heavy precipitation, and storm surge, to cause and contribute




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   to pollutant discharges and/or releases from the Providence Terminal due to, including, but not

   limited to, inadequate infrastructure design and infrastructure failure.

   217.   The mean sea level trends measured at the Providence and Newport Tide Gauge confirm

   past, present, and ongoing sea level rise in Rhode Island:




   NOAA, Mean Sea Level Trend Measured at the Providence Tide Gauge, 8454000, TIDES &

   CURRENTS, https://tidesandcurrents.noaa.gov/sltrends/sltrends_station.shtml?stnid=8454000 (last

   visited Oct. 25, 2017).




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   NOAA, Mean Sea Level Trend Measured at the Newport Tide Gauge, 8452660, TIDES &

   CURRENTS, https://tidesandcurrents.noaa.gov/sltrends/sltrends_station.shtml?stnid=8452660 (last

   visited Oct. 25, 2017).

   218.   “Coastal flooding [in the Northeast] has increased due to a rise in sea level of

   approximately 1 foot since 1900. This rate of sea level rise exceeds the global average of

   approximately 8 inches . . . .” Third Nat’l Climate Assessment, Ch. 16: Northeast at 373.

   219.   Sea level trends along the Northeast Atlantic “have been higher than the global rate over

   the last several decades, capped by a recent multiyear jump in sea level beginning in 2009.”

   NOAA, Global & Regional Sea Level Rise Scenarios for the U.S., at 9 (Jan. 2017),

   https://tidesandcurrents.noaa.gov/publications/techrpt83_Global_and_Regional_SLR_Scenarios_

   for_the_US_final.pdf. This trend is projected to continue. See id. at vii (“Along regions of the

   Northeast Atlantic (Virginia coast and northward) and the western Gulf of Mexico coasts, RSL

   [relative sea level] rise is projected to be greater than the global average for almost all future

   GMSL [global mean sea level] rise scenarios.”).

   220.   Researchers have detected a “‘hotspot’ of accelerated sea level rise along the 1,000 km of

   coast from Cape Hatteras to above Boston and suggest it may be related to circulation changes in

   the North Atlantic Ocean.” NOAA, Global Sea Level Rise Scenarios for the U.S. Nat’l Climate

   Assessment, at 10 (Dec. 2012), https://cpo.noaa.gov/sites/cpo/Reports/2012/NOAA_SLR_r3.pdf.

   “Dynamical [sea level rise] resulting from ocean circulation patterns could be additive to the

   global mean [sea level rise] trend, creating even higher sea levels and potential coastal impacts in

   Boston, New York, and Washington, DC when compared to the Southeastern US.” Id. at 18-19.




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   221.   “Sea level rise of two feet, without any changes in storms, would more than triple the

   frequency of dangerous coastal flooding throughout most of the Northeast.” Third Nat’l Climate

   Assessment, Ch. 16: Northeast at 374.

   222.   “Sea levels have risen over 9 inches in Rhode Island since 1930 as measured at the

   Newport tide gauge . . . . The historic rate of sea level rise (SLR) at the Newport tide gauge from

   1930 to 2015 is presently 2.72 mm/year or more than an inch per decade.” 2016 EC4 Ann. Rep. at

   28. “SLR at the Newport tide gauge from 1984-2011 was 4.1 mm/year. This rate is similar to the

   mean annual rate of SLR for Newport of 4.8 mm/year for the period of 1999 to present as

   determined from the Permanent Service for Mean Sea Level at Newport.” Id.

   223.   “Sea level rise of the magnitude predicted could also potentially compromise onsite

   wastewater    treatment   systems,   municipal    sewage    treatment    plants,   and   stormwater

   infrastructure.” RI Ocean SAMP, Vol. 1, Ch. 3: Global Climate Change at 43.

   224.   “Higher sea levels increase the likelihood of flooding and inundation of coastal lands and

   infrastructure. Any given storm event will surge higher on land because the relative sea level is

   higher than in the past and be exacerbated in the future by more intense storms.” Id.

   225.   “This can affect the use of infrastructure in ports and harbors both over the short term

   (during a flooding event) and long term (extensive damage from inundation) and impact the

   ability for vessels to access the coast (for example, to unload cargo or pick up passengers).” Id.

   226.   “Higher flood levels and storage-area inundation may also inundate contaminated (or

   potentially contaminated) lands, and/or infrastructure not designed to withstand flooding. These

   areas could require new containment methods to prevent leaching.” Id.

   227.   “Rhode Island has 47.1 square miles (mi2) (122.0 square kilometers (km2)) of land lying

   within 4.9 vertical feet (1.5 meters) of sea level with an additional 24 mi2 (108.8 km2) between



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   4.9 and 11.5 feet (1.5 and 3.5 meters). This 4.9-foot (1.5-meter) contour roughly represents the

   area that would be inundated during spring high water with a 2.3-foot (0.7 meter) rise in sea

   level. This sea level rise scenario is within current end-of-century projections.” Id.

   228.    In January 2017, NOAA increased its worst case sea level rise prediction to a greater-

   than-eight-foot increase in sea level rise in Rhode Island by 2100. See CRMC, New NOAA Sea

   Level    Rise    Projections     Dramatically      Increase     by   2100     (Feb.      22,   2017),

   www.crmc.ri.gov/news/2017_0222_sealevel.html.

   229.    In reference to the report, Grover Fugate, Executive Director of CRMC stated: “[t]o put

   in perspective we’ve had 10 inches (of sea-level rise) during the last 90 years. We’re about to

   have 10 feet in the next 80 years.” Tim Faulkner, Ocean State Sea level-Rise Estimate Now

   Above 9 Feet, ECORI (Feb. 12, 2017), https://www.ecori.org/climate-change/2017/2/12/see-

   level-rise-estimate-now-above-9-feet.

   230.    “[Sea level rise] has critical implications for RI, as approximately 6, 13 and 20 square

   miles of Rhode Island’s coastal areas will be permanently flooded with 1, 3 and 5 feet of SLR,

   respectively . . . .” 2016 EC4 Ann. Rep. at 29.

   231.    Certain future changes are “committed” by “virtue of past or current forcings.” IPCC,

   Climate Change 2013: The Physical Science Basis, Contribution of Working Grp. I to the Fifth

   Assessment          Rep.         of         the         IPCC,          at        128           (2013),

   http://www.climatechange2013.org/images/report/WG1AR5_ALL_FINAL.pdf. Continued sea

   level rise is “committed” as a result of past change in atmospheric composition, due to historical

   greenhouse gas and aerosol emissions, as well as the inertia and timescales of climate systems.

   IPCC, Climate Change 2007: The Physical Science Basis, Working Grp. I Contribution to the




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   Fourth Assessment Rep. of the IPCC, at 68, 77 (2007), http://www.ipcc.ch/pdf/assessment-

   report/ar4/wg1/ar4_wg1_full_report.pdf.

   232.   “[I]t is virtually certain that global mean sea level rise will continue beyond 2100, with

   sea level rise due to thermal expansion to continue for many centuries.” IPCC, Climate Change

   2013: The Physical Science Basis, Contribution of Working Grp. I to the Fifth Assessment Rep.

   of the IPCC, at 28, 105, 1140 (2013),

   http://www.climatechange2013.org/images/report/WG1AR5_ALL_FINAL.pdf.               The     IPCC

   defines “virtually certain” as a “99-100% probability.” Id. at 4.

   233.   Researchers have found that the amount of greenhouse gases emitted by the year 2000

   have already committed global mean sea level rise to approximately 1.7 meters (range of 1.2 to

   2.2 meters). See Peter Clark, Consequences of Twenty-First-Century Policy for Multi-Millennial

   Climate and Sea-Level Change, NATURE CLIMATE CHANGE, at 365 (Feb. 8, 2016),

   http://climatehomes.unibe.ch/~stocker/papers/clark16natcc.pdf. Sea level rise varies regionally,

   but the majority of coastlines will experience sea level rise within a range of 20% of the global

   mean sea level rise. See id.

   234.   Other researchers have found that cumulative emissions through the year 2015 have

   already committed global sea level rise to 1.6 meters (range of 0 to 3.7 meters) and that

   cumulative emissions through 2050, under the IPCC Fifth Assessment intermediate emissions

   pathway, commit Boston to sea level rise of 2.8 meters. See Benjamin Strauss et al., Carbon

   choices determine US cities committed to future below sea level, PNAS, 13511, Table S3 (click

   “Tables S3–S6”) (Sept. 18, 2015), http://www.pnas.org/content/112/44/13508.full.pdf.

   235.   In 1972, the American Petroleum Institute (“API”) released a status report on all group-

   sponsored environmental research projects. Shell is among the thirty-nine “company affiliations



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   of committee members” listed in the status report. API, Environmental Research, A Status

   Report, at IV-1 (Jan. 1972), http://files.eric.ed.gov/fulltext/ED066339.pdf. The report contains a

   summary of a 1968 report on Sources, Abundance, and Fate of Gaseous Atmospheric Pollutants

   prepared for API. Id. at III-9. The API status report refers to the research initiative’s discussion

   of CO2 as a “brief review of current thinking.” Id.

   236.    The Sources, Abundance, and Fate of Gaseous Atmospheric Pollutants report, by

   Stanford Research Institute (“SRI”), discusses the implications of a CO2 generated “greenhouse

   effect” and consequential temperature increase, asserting that “[i]f the earth’s temperature

   increases significantly, a number of events might be expected to occur, including the melting of

   the Antarctic ice cap, a rise in sea levels, warming of the oceans, and an increase in

   photosynthesis.” Robinson et al., Sources, Abundance, and Fate of Gaseous Atmospheric

   Pollutants,          SRI,           at          108            (1968),           excerpt           at

   https://www.smokeandfumes.org/documents/document16. In the report, SRI further states that

   “[a]lthough there are other possible sources for the additional CO2 now being observed in the

   atmosphere, none seems to fit the presently observed situation as well as the fossil fuel

   emanation theory.” Id. at 109.

   237.    A 1989 New York Times article describes Shell’s efforts to design and construct a

   natural-gas production platform in the North Sea that would account for sea level rise. According

   to the article, in anticipation of sea level rise throughout the duration of the platform’s lifespan,

   the company’s engineers “are considering raising the platform from the standard 30 meters – the

   height now thought necessary to stay above the waves that come in a once-a-century storm – to

   31 or 32 meters.” Greenhouse Effect: Shell Anticipates a Sea Change, THE NEW YORK TIMES

   (Dec.    20,    1989),      http://www.nytimes.com/1989/12/20/business/greenhouse-effect-shell-



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   anticipates-a-sea-change.html. The additional cost of a one-meter increase was sixteen million

   dollars (1989 USD Value). See id.

   238.    In the early 1990s, Shell joined Mobil, Imperial Oil, and Nova Scotia Resources Limited

   in the Sable Offshore Energy Project to examine oil exploration off the coast of Nova Scotia.

   The project produced a Development Plan containing an Environmental Impact Statement, which

   addressed “Global Warming Sea-Level Rise.” The Statement reads:

                  Numerous predictions of sea-level rise due to global warming have
                  been made during the past decade. The prediction of IPCC
                  working group was that the mean sea-level rise would increase by
                  16-32 cm (with mean increase of 20 cm) by the year 2030; and by
                  33-75 cm (mean increase of 45 cm) by the year 2070. There are
                  doubts that these predictions would apply across the globe.

                  The impact of a global warming sea-level rise may be particularly
                  significant in Nova Scotia. The long-term tide gauge records at a
                  number of locations along the N.S. coast have shown sea level has
                  been rising over the past century. The water level data from the
                  Halifax Harbour tide gauge (since 1851) have shown a rate of sea-
                  level rise of about 3.18 mm/yr, based on records from 1896 to
                  1990, and of 3.63 mm/yr based on data from 1920 to 1990.

                  The estimated increase in water level due to global warming could
                  vary from 0.20 to 1.4 m by the middle of the next century. For the
                  design of coastal and offshore structures, an estimated rise in
                  water level, due to global warming, of 0.5 m to [sic] may be
                  assumed for the proposed project life (25 years). However, there
                  was no strong scientific support for such an estimate given in the
                  literature.

   ExxonMobil, Development Plan: Sable Offshore Energy Project, Vol. 3, Ch. 4 (Environmental

   Setting), at 4-76 – 4-77 (citations omitted) (emphasis added),

   http://soep.com/about-the-project/development-plan-application/ (last visited Oct. 24, 2017).

   239.   However, Shell has not taken action to address the threat of sea level rise at the

   Providence Terminal.

                  c. Increasing Sea Surface Temperatures Contribute to Flooding

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   240.   Increases in sea surface temperature and the resulting increase in frequency and

   magnitude of storm events causes and contributes to pollutant discharges and/or releases from

   the Providence Terminal due to, including but not limited to, inadequate infrastructure design

   and infrastructure failure.

   241.   Regarding “Climate-related Drivers of Coastal Change,” “[t]he primary climatic forces

   affecting the coasts are changes in temperature, sea and water levels, precipitation, storminess,

   ocean acidity, and ocean circulation.” Third Nat’l Climate Assessment at 582. “Sea surface

   temperatures are rising and are expected to rise faster over the next few decades, with significant

   regional variation, and with the possibility for more intense hurricanes as oceans warm.” Id.

   242.   The rate of increase in the northeast is greater than the global average: “[f]rom 1982 to

   2006, sea surface temperature in the coastal waters of the Northeast warmed by close to twice the

   global rate of warming over this period.” Id. at 566.

   243.   Increases in sea surface temperature have been connected to increased risk of frequency

   and magnitude of storm events. The observed increases in activity in North Atlantic hurricanes

   “are linked, in part, to higher sea surface temperatures in the region that Atlantic hurricanes form

   in and move through.” Id. at 41.

   244.   “The water in Narragansett Bay is getting warmer. Over the past 50 years, the surface

   temperature of the Bay has increased 1.4 to 1.6 C (2.5 to 2.9 F). Winter water temperatures

   in the Bay have increased even more, from 1.6 to 2.0 C (2.9 to 3.6 F).” 2016 EC4 Annual

   Rep. at 33.

   245.   “Ocean temperatures are increasing world-wide, but temperature increases in the

   northwestern Atlantic Ocean are expected to be 2-3 times larger than the global average.” Id.




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   246.   Shell has not taken action to address the threats associated with increasing sea surface

   temperatures at the Providence Terminal.

          B. Lessons from the (Not-So-Distant) Past

   247.   The unfortunate reality is that the present and substantial continued risk of pollutant

   releases and/or discharges from the Providence Terminal is made worse by the factors described

   in Section IV.A, supra.

   248.   This reality has been demonstrated in the context of increased severe weather events,

   including Superstorm Sandy. In late October 2012, Motiva Enterprises LLC’s (at the time, a joint

   venture between Royal Dutch Shell plc and Saudi Aramco) Sewaren Terminal in New Jersey

   suffered a 378,000 gallon oil release into the Arthur Kill as a result of a containment failure. As

   reported in the New Jersey news media outlet NJ.com:

                  [A]t the Sewaren terminal of Motiva Enterprises, a subsidiary of
                  Shell, the tidal surge damaged bulk fuel tanks, releasing
                  approximately 378,000 gallons of low-sulfur diesel, officials said.
                  Nearly three quarters of that amount escaped the containment area,
                  rushing into the Arthur Kill and its tributaries. That’s like 30 tanker
                  trucks pouring their contents into the water.

                  It represents the largest fuel or oil spill in New Jersey in perhaps a
                  decade or more, officials said.

                  ‘That’s a major spill,’ said Larry Ragonese, a spokesman for the
                  state Department of Environmental Protection. ‘On a normal basis,
                  we would have had quite a bit of uproar and media attention.’

                  That, of course, did not happen as the region reeled amid death,
                  destruction and darkness. Quickly and quietly, though, Shell and
                  the other two oil companies that experienced leaks — at the
                  Phillips 66 refinery in Linden and at the Kinder Morgan terminal
                  in Carteret — moved in to plug breached tanks and contain what
                  had already been released.



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                  Within 24 hours, hundreds of workers had responded with oil
                  skimmers, vacuum trucks, water barges, work boats and thousands
                  of feet of containment boom, according to local, state and federal
                  officials who have provided oversight for the work.

   Ryan Hutchins, Oil Spills, Other Hurricane Sandy Damage Present N.J. with Potential Pollution

   Headaches, NJ.COM (Nov. 14, 2012),

   http://www.nj.com/news/index.ssf/2012/11/hurricane_sandy_oil_spills.html.

   249.   Harvard’s Daniel P. Schrag, Sturgis Hooper Professor of Geology in the Faculty of Arts

   and Sciences, stated in a news report regarding Superstorm Sandy that:

                  By midcentury, this will be the new normal . . . . How do you deal
                  with extreme heat in the summer? It’s going to be a challenge, but
                  humans are adaptable. It’s not going to be easy, just like a 13-foot
                  storm surge will be the new norm on the Eastern seaboard.

   Edward Mason, Hello Again, Climate Change: Sandy Prompts Renewed Interest and Concern,

   and Schrag Says it Should, HARVARD GAZETTE (Nov. 6, 2012),

   http://news.harvard.edu/gazette/story/2012/11/hello-again-climate-change/.

   250.   Considering the future implications of storms such as Superstorm Sandy, URI Professor

   Austin Becker commented: “[p]orts provide a public good and we all benefit from that . . . and so

   a storm hitting the Port of Providence can have huge ramifications for the whole state.”

   Preparing Ports to Ride Out the Storm, RHODE ISLAND SEA GRANT (Mar. 19, 2015),

   http://seagrant.gso.uri.edu/preparing-ports-to-ride-out-the-storm/.

   251.   More recently, Hurricane Harvey’s intense rains and flooding struck the Texas energy

   sector, damaging facilities and causing releases and discharges of pollutants, including toxic

   chemicals. Preliminary data from the National Weather Service shows that between August 24

   and September 1, 2017, as much as 64.58 inches of rain fell in parts of Texas, including areas in

   and around Houston and Beaumont.

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   252.     According to pollution reports submitted to state and federal regulators, “more than two

   dozen storage tanks holding crude oil, gasoline and other contaminants ruptured or otherwise

   failed when Harvey slammed into the Texas coast, spilling at least 145,000 gallons [ ] of fuel and

   spewing toxic pollutants into the air.” Matthew Brown & Larry Fenn, Tank Failures in Harvey

   Reveal      Vulnerabilities    in     Storm,    ASSOCIATED       PRESS       (Sept.   9,    2017),

   https://apnews.com/0485b3c424be4ce3bb555cf16a88f3bd.

   253.     On August 28, 2017, Shell reported to the Texas Commission on Environmental Quality

   (“CEQ”) that at its Deer Park facility, “at approximately 8:00 am, it was discovered that the

   external floating roof Tank G346 had material on top of the roof and in the dike area. Process

   indicators determined that the roof started sinking at 3:00 AM due to Hurricane Harvey dumping

   heavy and large amounts of rainfall in a short period of time.” Included among emissions

   reported during the event were approximately 2968.8 pounds of benzene, 1272.4 pounds of

   ethylbenzene, 11451.1 pounds of toluene, and 7634.1 pounds of xylene. See Texas CEQ, Air

   Emission     Event   Reporting      Database:   Shell   Oil   Deer   Park,    (Aug.   28,   2017),

   http://www2.tceq.texas.gov/oce/eer/index.cfm?fuseaction=main.getDetails&target=266341.

   254.     On August 28, 2017, Shell reported from its Deer Park facility that “[c]rude oil was

   discovered on the roof of tank A330. Heavy rains from Hurricane Harvey resulted in significant

   roof stress, which then allowed crude to get onto the roof.” Included among emissions reported

   during the event were approximately 19 pounds of benzene and 122.2 pounds of toluene. See

   Texas CEQ, Air Emission Event Reporting Database: Shell Oil Deer Park (Aug. 28, 2017),

   http://www2.tceq.texas.gov/oce/eer/index.cfm?fuseaction=main.getDetails&target=267012.

   255.     From August 27 to September 1, 2017, Shell filed five reports with the National

   Response Center documenting incidents at its Deer Park and Houston facilities.



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   256.     Incidents reported include: “Heavy rains and flood waters resulted in a discharge of

   residual crude oil to the Houston ship channel;” “A release of [1001 Pound(s)] of Phenol (CAS

   108952) from the piping of a process unit . . . .;” “A release of materials due to rising waters

   from the tropical storm;” and “Hydrocarbons, Benzene and Toluene released from a storage tank

   into the fire wall and ground . . . ” U.S. Coast Guard Nat’l Response Ctr., 2017 Reps.,

   http://www.nrc.uscg.mil/.

   257.     At Kinder Morgan’s Pasadena Terminal, “a [ ] 6.3 million gallon [ ] fuel storage tank

   spilled an unspecified amount of gasoline . . . after tilting over due to large volumes of rain from

   Harvey.” Texas Regulators Report Gas Spill Due to Harvey, ASSOCIATED PRESS (Aug. 28,

   2017),

   https://www.houstonpublicmedia.org/articles/news/2017/08/28/233577/texas-regulators-report-

   gas-spill-due-to-harvey/.

   258.     Another spill occurred at a ConocoPhillips facility when rising waters associated with

   heavy rains and flooding washed out four storage tanks holding approximately 16,160 gallons of

   oil and approximately 3,192 gallons of produced water. ConocoPhilips, ConocoPhillips

   Responds to Harvey (Aug. 2017), http://www.conocophillips.com/Pages/Hurricane-Relief-

   Efforts.aspx.

   259.     At an Arkema Inc. facility in Crosby, Texas, flooding overwhelmed primary power and

   two sources of emergency backup power causing explosions and black smoke that forced

   evacuations of areas within 1.5 miles of the plant. Arkema, Explosions & Smoke Reported at

   Arkema Inc. Crosby Plant (Aug. 31, 2017), http://www.arkema-americas.com/en/media/news-

   overview/news/Explosions-and-Smoke-Reported-at-Arkema-Inc.-Crosby-Plant/.




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   260.    According to the Texas CEQ’s assessment of Superfund sites, as of September 2, 2017,

   “13 sites have been flooded and/or are experiencing possible damage due to the storm.” Texas

   CEQ,    Status     of   Superfund   sites   in   areas   affected   by   Harvey   (Sep.   2,   2017),

   https://www.tceq.texas.gov/news/releases/status-of-superfund-sites-affected-by-harvey.

   261.    Climate change increases the likelihood that extreme rainfall will accompany storms like

   Harvey because a warmer atmosphere holds more water and warmer oceans help pack these

   storms with even more moisture. Climate change is also increasing the severity of storm-related

   damages, largely because of rising sea levels.

      V.      Shell has Failed to Utilize Good Engineering Practices

   262.    Engineers take the factors discussed in Section IV.A, supra, into account throughout their

   facility planning, decision-making, construction and design, engineering certification, and

   operation processes in order to assure adequate control and treatment of pollutant discharges

   and/or releases.

   263.    Engineers exercising skill and judgment reasonably expected of similarly situated

   professionals make engineering decisions based on information regarding the factors discussed

   in Section IV.A, supra.

   264.    For example, the Army Corps of Engineers issued a regulation in 2013 entitled

   “Incorporating Sea Level Change in Civil Works Programs.” That regulation states that

                    [sea level change] can cause a number of impacts in coastal and
                    estuarine zones, including changes in shoreline erosion, inundation
                    or exposure of low-lying coastal areas, changes in storm and flood
                    damages, shifts in extent and distribution of wetlands and other
                    coastal habitats, changes to groundwater levels, and alterations to
                    salinity intrusion into estuaries and groundwater systems.




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   Army Corps of Engineers, Regulation No. 1100-2-8162, at Appendix B, B-1 (Dec. 31, 2013),

   http://www.publications.usace.army.mil/Portals/76/Publications/EngineerRegulations/ER_1100-

   2-8162.pdf.

   265.   The Army Corps of Engineers acknowledges that sea level change is likely to impact

   coastal projects, and “[a]s a result, managing, planning, engineering, designing, operating, and

   maintaining for [sea level change] must consider how sensitive and adaptable 1) natural and

   managed ecosystems and 2) human and engineered systems are to climate change and other

   related global changes.” Id. at 2.

   266.   The Army Corps of Engineers’ regulation also states that “[h]istoric trends in local MSL

   [mean sea level] are best determined from tide gauge records. The NOAA Center for Operational

   Oceanographic Products and Services (CO-OPS) provides historic information and local MSL

   trends for tidal stations operated by NOAA/NOS in the US.” Id. at Appendix B, B-2.

   267.   The historic rate of relative sea level change at relevant local tide stations (as shown in

   the graphs above for the Providence and Newport Tide Gauges, see supra ¶ 208) should be used

   as the low rate for analysis, because it is a linear extrapolation from historic tide gauge

   measurements and does not account for future acceleration of sea level rise, ice sheet melt, or sea

   level rise due to warmer water occupying a greater volume.

   268.   CRMC has developed a “Climate and Sea Level Rise Policy” providing the following:

              a. “The Council will prohibit those land-based and offshore development projects

                  that based on a sea level rise scenario analysis will threaten public safety or not

                  perform as designed resulting in significant environmental impacts.” RI Ocean

                  SAMP, Vol. 1, Ch. 3: Global Climate Change at 56.




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                b. “The U.S. Army Corps of Engineers (ACOE) . . . design and construction

                    standards that consider impacts from sea level rise . . . should be applied to

                    determine sea level rise impacts.” Id.

                c. “The Council supports the application of enhanced building standards in the

                    design phase of rebuilding coastal infrastructure associated with the Ocean SAMP

                    area, including port facilities, docks, and bridges that ships must pass under.” Id.

                d. “The Council will reassess coastal infrastructure and seaworthy marine structure

                    building standards periodically not only for sea level rise, but also for other

                    climate changes including more intense storms, increased wave action, and

                    increased acidity in the sea.” Id.

   269.      Included among Shell’s list of environmental standards is “preventing spills and leaks of

   hazardous             materials.”           Shell          Global,           Our            Approach,

   http://www.shell.com/sustainability/environment/our-approach-sustainability.html (last visited

   Oct. 25, 2017). Shell states that “[t]o avoid spills and leaks of hazardous substances, we work

   hard to make sure our facilities are well designed, safely operated and appropriately inspected

   and maintained.” Id.

   270.      In discussing “Adaptation” to climate change in its 2016 Sustainability Report, Shell

   stated:

                    [t]he effects of climate change mean that governments, businesses
                    and local communities are adapting their infrastructure to the
                    changing environment. At Shell, we are taking steps at our
                    facilities around the world to ensure that they are resilient to
                    climate change. This reduces the vulnerability of our facilities and
                    infrastructure to potential extreme variability in weather
                    conditions.

                    We take different approaches to adaptation for existing facilities
                    and new projects. We progressively adjust our design standards for

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                   new projects while, for existing assets, we identify those that are
                   most vulnerable to climate change and take appropriate action.

   Royal Dutch Shell plc, Sustainability Rep., at 19 (2016),

   https://www.unglobalcompact.org/system/attachments/cop_2017/375091/original/entire_shell_sr

   16.pdf?1491999994. The report further states that “Shell has a rigorous approach to

   understanding, managing and mitigating climate risks in our facilities.” Id.

   271.    Contrary to these statements, Shell is not “understanding, managing and mitigating

   climate risks” at the Providence Terminal.

   272.    Unlike others involved in large-scale engineering projects, Shell has not taken

   information known to it regarding the factors discussed in Section IV.A, supra, into account in

   designing, constructing, and operating the Providence Terminal to protect the Providence

   Terminal and surrounding communities from pollutant discharges and/or releases.

   273.    Shell’s disregard of the substantial and imminent risks to the Providence Terminal and its

   continuing failure to protect the Providence Terminal against such risks make Shell liable for

   violations of the CWA and RCRA, as described below.

                                       CLAIMS FOR RELIEF

                                         First Cause of Action

               Violation of the Clean Water Act – Unlawful Certification of SWPPP

   274.    Plaintiff incorporates the allegations contained in the above paragraphs as though fully

   set forth herein.

   275.    The Permit requires that “[t]he SWPPP shall be signed by the permittee in accordance

   with RIPDES Rule 12 . . . .” Ex. A, Permit Part I.C.2 at 12.

   276.    RIPDES Rule 12 requires that for corporations, “[a]ll permit applications shall be signed .

   . . by a responsible corporate officer.” R.I. Code R. 25-16-14:12(a). Further:

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                  For the purpose of this section, a responsible corporate officer
                  means: (i) A president, secretary, treasurer, or vice-president of the
                  corporation in charge of a principal business function, or any other
                  person who performs similar policy or decision-making functions
                  for the corporation, or (ii) The manager of one or more
                  manufacturing, production, or operating facilities employing more
                  than 250 persons or having gross annual sales or expenditures
                  exceeding $25 million (in second-quarter 1980 dollars), if
                  authority to sign documents has been assigned or delegated to the
                  manager in accordance with corporate procedures.
   Id.
   277.   Similarly, the federal regulations for NPDES permits found at 40 C.F.R. § 122.22 require

   that a permit application submitted by a corporation be signed by a responsible corporate officer.

   See 40 C.F.R. § 122.22(a)(1). Further:

                  [f]or the purposes of this section, a responsible corporate officer
                  means: (i) A president, secretary, treasurer, or vice-president of the
                  corporation in charge of a principal business function, or any other
                  person who performs similar policy- or decision-making functions
                  for the corporation, or (ii) the manager of one or more
                  manufacturing, production, or operating facilities, provided, the
                  manager is authorized to make management decisions which
                  govern the operation of the regulated facility including having the
                  explicit or implicit duty of making major capital investment
                  recommendations,      and     initiating   and      directing    other
                  comprehensive measures to assure long term environmental
                  compliance with environmental laws and regulations; the manager
                  can ensure that the necessary systems are established or actions
                  taken to gather complete and accurate information for permit
                  application requirements; and where authority to sign documents
                  has been assigned or delegated to the manager in accordance with
                  corporate procedures.
   Id. (emphasis added). 40 C.F.R. § 122.22(a)(1) also notes that:
                  EPA does not require specific assignments or delegations of
                  authority to responsible corporate officers identified in
                  § 122.22(a)(1)(i). The Agency will presume that these responsible
                  corporate officers have the requisite authority to sign permit
                  applications unless the corporation has notified the Director to the
                  contrary. Corporate procedures governing authority to sign permit
                  applications may provide for assignment or delegation to
                  applicable corporate positions under § 122.22(a)(1)(ii) rather than
                  to specific individuals.

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   278.       Both R.I. Code R. 25-16-14:12(d) and the federal regulations at 40 C.F.R. § 122.22(d)

   require Shell to make the following certification when signing such documents:

                     I certify under penalty of law that this document and all
                     attachments were prepared under the direction or supervision in
                     accordance with a system designed to assure that qualified
                     personnel properly gather and evaluate the information submitted.
                     Based on my inquiry of the person or persons who manage the
                     system, or those persons directly responsible for gathering the
                     information, the information submitted is, to the best of my
                     knowledge and belief, true, accurate, and complete. I am aware
                     that there are significant penalties for submitting false information,
                     including the possibility of fine and imprisonment for knowing
                     violations.

   279.       Shell made the required certification at the time of submittal of its RIPDES permit

   applications.

   280.       Shell made the required certification at the time of development and submission of its

   SWPPP.

   281.       Shell made these certifications without disclosing information in its possession that was

   relied on by the company in its business decision-making regarding the factors discussed in

   Section IV.A, supra, and the substantial risks of pollutant discharges associated with these

   factors.

   282.       Shell made these certifications without developing and implementing a SWPPP based on

   information in its possession that was relied on by the company in its business decision-making

   regarding the factors discussed in Section IV.A, supra, and the substantial risks of pollutant

   discharges associated with these factors.

   283.       Shell made these certifications without addressing spill prevention and control procedures

   based on information in its possession that was relied on by the company in its business decision-




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   making, regarding the factors discussed in Section IV.A, supra, and the substantial risks of

   pollutant discharges and/or releases associated with these factors.

   284.    Shell’s failure to disclose and consider the factors discussed in Section IV.A, supra, and

   the substantial risks of pollutant discharges associated with these factors, renders its SWPPP

   certification untrue, inaccurate, and incomplete, and therefore unlawful under RIPDES Rule 12

   and 40 C.F.R. § 122.22.

   285.    By failing to prepare the SWPPP in accordance with the requirements identified in

   RIPDES Rule 12 and 40 C.F.R. § 122.22 to which Shell certified that it had complied, Shell is

   violating the Permit and the Clean Water Act.

   286.    These violations are ongoing and continuous, and barring a change at the Providence

   Terminal and full compliance with the permitting requirements of the Clean Water Act, these

   violations will continue indefinitely.

                                         Second Cause of Action

    Violation of the Clean Water Act – Failure to Prepare SWPPP in Accordance with Good
                                    Engineering Practices

   287.    Plaintiff incorporates the allegations contained in the above paragraphs as though fully

   set forth herein.

   288.    The Permit requires that “[t]he SWPPP shall be prepared in accordance with good

   engineering practices . . . .” Ex. A, Permit Part I.C.1 at 12.

   289.    Shell’s SWPPP for the Providence Terminal was not prepared in accordance with good

   engineering practices because the SWPPP was not based on information consistent with the duty

   of care applicable to engineers.




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   290.    The SWPPP was not prepared based on information known to reasonably prudent

   engineers, such as information about the factors discussed in Section IV.A, supra, and the

   substantial risks of pollutant discharges associated with these factors.

   291.    The SWPPP was not prepared based on information known to Shell, such as information

   about the factors discussed in Section IV.A, supra, and the substantial risks of pollutant

   discharges associated with these factors.

   292.    By failing to prepare a SWPPP in accordance with good engineering practices, Shell is

   violating the Permit and the Clean Water Act.

   293.    These violations are ongoing and continuous, and barring a change at the Providence

   Terminal and full compliance with the permitting requirements of the Clean Water Act, these

   violations will continue indefinitely.

                                            Third Cause of Action

            Violation of the Clean Water Act – Failure to Identify Sources of Pollution

   294.    Plaintiff incorporates the allegations contained in the above paragraphs as though fully

   set forth herein.

   295.    The Permit requires that “[t]he SWPPP shall . . . identify potential sources of pollutants,

   which may reasonably be expected to affect the quality of storm water discharges associated with

   industrial activity from the facility.” Ex. A, Permit Part I.C.1 at 12.

   296.    Shell has failed to identify sources of pollutants resulting from the factors discussed in

   Section IV.A, supra, as sources of pollution reasonably expected and anticipated by Shell to

   affect the quality of the stormwater discharges from the Providence Terminal.

   297.    The Permit further requires that:

                   [t]he SWPPP must provide a description of potential sources which
                   may be reasonably expected to add significant amounts of

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                   pollutants to storm water discharges or which may result in the
                   discharge of pollutants during dry weather from separate storm
                   sewers draining the facility. It must identify all activities and
                   significant materials, which may potentially be significant
                   pollutant sources.

   Ex. A, Permit Part I.C.5.a at 12.

   298.    The SWPPP does not address sources of pollutants resulting from the factors discussed in

   Section IV.A, supra, as potential sources which may be reasonably expected to add significant

   amounts of pollutants to stormwater discharges or which may result in the discharge of pollutants

   during dry weather from separate storm sewers draining the facility.

   299.    The SWPPP fails to identify all activities and significant materials, which may potentially

   be significant pollutant sources due to the factors discussed in Section IV.A, supra, and are

   known to Shell.

   300.    By failing to develop a SWPPP that complies with the requirements of the Permit, Shell

   is violating the Permit and the Clean Water Act.

   301.    These violations are ongoing and continuous, and barring a change at the Providence

   Terminal and full compliance with the permitting requirements of the Clean Water Act, these

   violations will continue indefinitely.

                                        Fourth Cause of Action

   Violation of the Clean Water Act – Failure to Describe and Implement Practices to Reduce
                           Pollutants and Ensure Permit Compliance

   302.    Plaintiff incorporates the allegations contained in the above paragraphs as though fully

   set forth herein.

   303.    The Permit requires that

                   the SWPPP shall describe and ensure implementation of Best
                   Management Practices (BMPs) which are to be used to reduce or
                   eliminate the pollutants in storm water discharges associated with

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                   industrial activity at the facility and to assure compliance with the
                   terms and conditions of this permit.

   Ex. A, Permit Part I.C.1 at 12.

   304.    Because the SWPPP for the Providence Terminal fails to describe or ensure

   implementation of BMPs that will be used to address pollutant discharges resulting from the

   factors discussed in Section IV.A, supra, Shell is violating the Permit and the Clean Water Act.

   305.    These violations are ongoing and continuous, and barring a change at the Providence

   Terminal and full compliance with the permitting requirements of the Clean Water Act, these

   violations will continue indefinitely.

                                            Fifth Cause of Action

   Violation of the Clean Water Act – Failure to Address Adequacy of Containment of Leaks
                         and Spills in Storage and Truck Loading Areas

   306.    Plaintiff incorporates the allegations contained in the above paragraphs as though fully

   set forth herein.

   307.    The Permit requires that

                   [t]he SWPPP in Part I.C. shall specifically address the adequacy of
                   containment of leaks and spills in storage areas (from Drums,
                   Additive Tanks, Petroleum Product Tanks, etc.) and truck loading
                   area(s). Adequate containment must exist at these locations so as to
                   prevent untreated discharges from reaching any surface water.

   Ex. A, Permit Part I.B.5 at 11.

   308.    The SWPPP contains a section entitled “Spill Prevention and Response Procedures.”

   SWPPP at 4-2–4-3.

   309.    However, Shell has failed to design and implement containment systems adequate to

   prevent discharges resulting from the factors discussed in Section IV.A, supra.




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   310.    By failing to design and implement adequate containment systems, Shell is violating the

   Permit and the Clean Water Act.

   311.    These violations are ongoing and continuous, and barring a change at the Providence

   Terminal and full compliance with the permitting requirements of the Clean Water Act, these

   violations will continue indefinitely.

                                            Sixth Cause of Action

           Violation of the Clean Water Act – Failure to Amend or Update the SWPPP

   312.    Plaintiff incorporates the allegations contained in the above paragraphs as though fully

   set forth herein.

   313.    The Permit requires that

                   [t]he permittee shall immediately amend the SWPPP whenever
                   there is a change in design, construction, operation, or
                   maintenance, which has a significant effect of [sic] the potential
                   for the discharge of pollutants to the waters of the State; a release
                   of reportable quantities of hazardous substances and oil; or if the
                   SWPPP proves to be ineffective in achieving the general objectives
                   of controlling pollutants in storm water discharges associated with
                   industrial activity. Changes must be noted and then submitted to
                   DEM. Amendments to the SWPPP may be reviewed by DEM in
                   the same manner as Part I.C.3. of this permit.

   Ex. A, Permit Part I.C.4 at 12.

   314.    Shell has not amended or updated its SWPPP based on information in its possession

   regarding the factors discussed in Section IV.A, supra, and the substantial risks of pollutant

   discharges and/or releases associated with these factors, in violation of the Permit and the Clean

   Water Act.

   315.    By failing to properly amend or update its SWPPP, Shell is violating the Permit and the

   Clean Water Act.




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   316.       These violations are ongoing and continuous, and barring a change at the Providence

   Terminal and full compliance with the permitting requirements of the Clean Water Act, these

   violations will continue indefinitely.

                                          Seventh Cause of Action

     Violation of the Clean Water Act – Failure to Properly Operate and Maintain Facilities
                             and Systems of Treatment and Control

   317.       Plaintiff incorporates the allegations contained in the above paragraphs as though fully

   set forth herein.

   318.       The Permit requires that “[t]he permittee shall at all times properly operate and maintain

   all facilities and systems of treatment and control (and related appurtenances) which are installed

   or used by the permittee to achieve compliance with the conditions of this permit.” Ex. A, Permit

   Part II(e) at 3. “Proper operation and maintenance also includes adequate laboratory controls and

   appropriate quality assurance procedures . . . .” Id. The Permit provision “requires the operation

   of back-up or auxiliary facilities or similar systems only when the operation is necessary to

   achieve compliance with the conditions of the permit.” Id. See also 40 C.F.R. § 122.41(e).

   319.       The Permit’s SWPPP requirements also include preventative maintenance protocols

   involving “inspection and maintenance of storm water management devices (i.e., oil/water

   separators, catch basins) as well as inspecting and testing plant equipment and systems to

   uncover conditions that could cause breakdown or failures resulting in discharges of pollutants to

   surface waters.” Ex. A, Permit Part I.C.5.b.3 at 14.

   320.       Shell is not properly operating and maintaining the Providence Terminal because Shell

   has failed to consider and act upon information regarding the factors discussed in Section IV.A,

   supra, and the substantial risks of pollutant discharges and/or releases associated with these

   factors.

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   321.    By failing to properly operate and maintain the Providence Terminal, Shell is violating

   the Permit and the Clean Water Act.

   322.    These violations are ongoing and continuous, and barring a change at the Providence

   Terminal and full compliance with the permitting requirements of the Clean Water Act, these

   violations will continue indefinitely.

                                         Eighth Cause of Action

      Violation of the Clean Water Act – Failure to Clean Oil/Water Separators and Storm
                                         Water Ponds

   323.    Plaintiff incorporates the allegations contained in the above paragraphs as though fully

   set forth herein.

   324.    The SWPPP states that “[t]he oil/water separators are is [sic] inspected quarterly for both

   sludge layer and oil layer and cleaned-out as appropriate” and that “[t]he storm water collection

   ponds are also inspected quarterly for excessive sediment build-up or evidence of erosion, and

   corrective action taken as needed.” SWPPP at 4-4.

   325.    The separator and ponds are routinely dirty, and show no signs of regular cleaning or

   maintenance. Examples of this are attached at Exhibits D and E.

   326.    Failure to clean out the separators and ponds and/or take corrective action is a violation

   of Shell’s duty to maintain and implement the SWPPP. See Ex. A, Permit Part I.C.1 at 12;

   SWPPP at i.

   327.    By failing to comply with its duties under the SWPPP, Shell is violating the Permit and

   the Clean Water Act.

   328.    These violations are ongoing and continuous, and barring a change at the Providence

   Terminal and full compliance with the permitting requirements of the Clean Water Act, these

   violations will continue indefinitely.

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                                            Ninth Cause of Action

     Violation of the Clean Water Act – Failure to Submit Required Facts or Information to
                    Rhode Island Department of Environmental Management

   329.    Plaintiff incorporates the allegations contained in the above paragraphs as though fully

   set forth herein.

   330.    The Permit requires that “[w]here the permittee becomes aware that it failed to submit

   any relevant facts in a permit application, or submitted incorrect information in a permit

   application or in any report to the Director, they shall promptly submit such facts or

   information.” Ex. A, Permit Part II(1)7 at 6.

   331.    Shell has failed to submit relevant facts and/or submitted incorrect information regarding

   the factors discussed in Section IV.A, supra, and the substantial risks of pollutant discharges

   and/or releases associated with these factors, in its permit application and in reports to DEM.

   332.    Shell has not promptly submitted such facts or information to DEM, despite Shell’s

   knowledge of the factors discussed in Section IV.A, supra, and the substantial risks of pollutant

   discharges and/or releases associated with these factors.

   333.    By failing to submit relevant facts and/or submitting incorrect information, and failing to

   promptly submit such information upon becoming aware that it had not previously been

   submitted, Shell is violating the Permit and the Clean Water Act.

   334.    These violations are ongoing and continuous, and barring a change at the Providence

   Terminal and full compliance with the permitting requirements of the Clean Water Act, these

   violations will continue indefinitely.




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                                            Tenth Cause of Action

                          Violation of the Clean Water Act – Duty to Mitigate

   335.    Plaintiff incorporates the allegations contained in the above paragraphs as though fully

   set forth herein.

   336.    The Permit requires that “[t]he permittee shall take all reasonable steps to minimize or

   prevent any discharge in violation of this permit which has a reasonable likelihood of adversely

   affecting human health or the environment.” Ex. A, Permit Part II(d) at 2; see also 40 C.F.R.

   § 122.41(d).

   337.    Shell has failed to take all reasonable steps to minimize or prevent any discharge in

   violation of the Permit which has a reasonable likelihood of adversely affecting human health or

   the environment due to its failure to consider and act upon information known to Shell regarding

   the factors discussed in Section IV.A, supra, and the substantial risks of pollutant discharges

   associated with these factors.

   338.    By failing to take all reasonable steps to minimize or prevent any discharge which has a

   reasonable likelihood of adversely affecting human health or the environment, Shell is violating

   the Permit and the Clean Water Act.

   339.    These violations are ongoing and continuous, and barring a change at the Providence

   Terminal and full compliance with the permitting requirements of the Clean Water Act, these

   violations will continue indefinitely.

                                       Eleventh Cause of Action

                       Violation of the Clean Water Act – Unpermitted Discharge

   340.    Plaintiff incorporates the allegations contained in the above paragraphs as though fully

   set forth herein.



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   341.    The Clean Water Act prohibits the discharge of any pollutant into the navigable waters of

   the United States without a NPDES permit authorizing such discharge. See 33 U.S.C.

   §§ 1311(a), 1342.

   342.    The Permit authorizes discharge of treated stormwater from three distinct outfalls;

   however, there is additional runoff occurring from the Providence Terminal that is not authorized

   by the Permit.

   343.    During rain events, runoff flows down an embankment located on the Providence

   Terminal property directly into the Providence River. See Ex. D.

   344.    The Providence Terminal also discharges stormwater containing pollutants directly into

   the City of Providence storm drainage system from an area west of Allens Avenue.

   345.    These discharges are not authorized by the Permit, and thus are unpermitted, in violation

   of the Permit and the Clean Water Act.

   346.    These violations are ongoing and continuous, and barring a change at the Providence

   Terminal and full compliance with the permitting requirements of the Clean Water Act, these

   violations will continue indefinitely.

                                        Twelfth Cause of Action

      Violation of the Clean Water Act – Failure to Comply with Monitoring and Reporting
        Requirements due to Failure to Use and Comply with Required Detection Limits

   347.    Plaintiff incorporates the allegations contained in the above paragraphs as though fully

   set forth herein.

   348.    Failure to conduct required monitoring and reporting in compliance with an NPDES

   Permit is a violation of the CWA.

   349.    Shell has failed to comply with the monitoring and reporting requirements in its Permit.




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   350.    As summarized in Exhibit F, Shell has often reported on its DMRs that the concentration

   of pollutants in the samples analyzed was “<1” ug/L. Reporting “<1” ug/L indicates that the

   MDL Shell is using for the pollutants is one ug/L, and the amount of pollutant in the analyzed

   samples was below the detection limit of one ug/L.

   351.    The MDL expressly required in the Permit for total xylenes, benzo(a)anthracene,

   benzo(a)pyrene, benzo(b)fluoranthene, benzo(k)fluoranthene, chrysene, dibenzo(a,h)anthracene,

   and indeno(1,2,3-cd)pyrene is not “one” ug/L; it is 0.5, 0.013, 0.023, 0.018, 0.017, 0.15, 0.03,

   and 0.043 ug/L, respectively, all values below one. For these pollutant parameters, reporting

   “<1” ug/L is a violation of the Permit.

   352.    By reporting these pollutants as “<1”, where “1” is orders of magnitude greater than the

   required monitoring level for these pollutants, Shell has not documented the level of toxicity of

   its discharge in conformance with the Permit’s requirements.

   353.    Shell’s inadequate monitoring and reporting provide little to no useful information

   regarding the quality or characteristics of these pollutant discharges from the facility.

   354.    By failing to conduct required monitoring for pollutant discharges and failing to comply

   with reporting requirements, Shell is violating the Permit and the Clean Water Act.

   355.    These violations are ongoing and continuous, and barring a change at the Providence

   Terminal and full compliance with the permitting requirements of the Clean Water Act, these

   violations will continue indefinitely.

                                      Thirteenth Cause of Action

      Violation of the Clean Water Act – Failure to Comply with Monitoring and Reporting
        Requirements due to Failure to Comply with Timing Requirements for Sampling

   356.    Plaintiff incorporates the allegations contained in the above paragraphs as though fully

   set forth herein.

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   357.   The Permit requires the following regarding sampling for “oil and grease” and “TSS:”

                  [t]wo (2) samples shall be taken during wet weather and one (1)
                  during dry weather. Wet weather samples must be collected during
                  the first 30 minutes from discharges resulting from a storm event
                  that is greater than 0.1 inch of rainfall in a 24-hour period and at
                  least 72 hours from the previously measurable (greater than 0.1
                  inch of rainfall in a 24-hour period) storm event. If this is not
                  feasible, wet weather samples may be taken within the first hour of
                  discharge and noted on the Discharge Monitoring Report.

   Ex. A, Permit Part I.A.1 n.1 at 4.

   358.   As summarized in Exhibit G, the DMRs for the Providence Terminal regularly indicate

   that samples were not taken in compliance with this Permit requirement.

   359.   For monitored pollutants other than “oil and grease” and “TSS,” the Permit requires that

                  [o]ne sample shall be taken during the first 30 minutes of discharge
                  from a storm event that is greater than 0.1 inch of rainfall in a 24-
                  hour period and at least 72 hours from the previously measurable
                  (greater than 0.1 inch of rainfall in a 24-hour period) storm event;
                  if this is not feasible, it may be taken within the first hour of
                  discharge and noted on the Discharge Monitoring Report.

   Ex. A, Permit Part I.A.1 n.2 at 4.

   360.   As summarized in Exhibit H, the DMRs for the Providence Terminal regularly indicate

   that samples were not taken in compliance with this Permit requirement.

   361.   By failing to take samples in compliance with the Permit’s timing requirements, Shell is

   violating the Permit and the Clean Water Act.

   362.   These violations are ongoing and continuous, and barring a change at the Providence

   Terminal and full compliance with the permitting requirements of the Clean Water Act, these

   violations will continue indefinitely.




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                                      Fourteenth Cause of Action

      Violation of the Clean Water Act – Failure to Comply with Monitoring and Reporting
                  Requirements due to Failure to Provide Required Information

   363.    Plaintiff incorporates the allegations contained in the above paragraphs as though fully

   set forth herein.

   364.    For all pollutant monitoring, Shell is required to document specific storm characteristics

   on the DMRs. Specifically, the Permit requires that

                   [i]n addition to the required sampling results submitted in
                   accordance with Parts I.A.l. and l.A.3. of this permit, the permittee
                   must provide the date and duration (hours) of the storm event
                   sampled, the total depth of rainfall (inches), and the total volume
                   of runoff (Ft3). This information must be submitted with the
                   Discharge Monitoring Report forms at the frequency specified in
                   Part I.E.2 of this permit.

   Ex. A, Permit Part I.A.4.d at 8.

   365.    As summarized in Exhibit I, the DMRs for the Providence Terminal indicate that the

   information required under this Permit provision is not being recorded and/or provided.

   366.    By failing to provide required information in conjunction with its sampling activities,

   Shell is violating the Permit and the Clean Water Act.

   367.    These violations are ongoing and continuous, and barring a change at the Providence

   Terminal and full compliance with the permitting requirements of the Clean Water Act, these

   violations will continue indefinitely.

                                       Fifteenth Cause of Action

      Violation of the Clean Water Act – Failure to Comply with Monitoring and Reporting
                         Requirements due to Abuse of Waiver Provision

   368.    Plaintiff incorporates the allegations contained in the above paragraphs as though fully

   set forth herein.



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   369.    For all pollutant monitoring, if adverse climatic conditions prevent samples from being

   collected in a given period, Shell is required to submit an explanation as to why, and may only

   exercise this waiver once in a two-year period. Specifically, the Permit requires that

                   [i]f the permittee is unable to collect samples due to adverse
                   climatic conditions which make the collections of samples
                   dangerous or impractical, the permittee must submit, in lieu of
                   sampling data, a description of why samples could not be
                   collected, including available precipitation data for the monitoring
                   period. The permittee can only exercise this waiver once in a two
                   (2) year period for outfalls designated 001A, 002A, and 003A.

   Ex. A, Permit Part I.A.4.e at 8.

   370.    As summarized in Exhibit J, the DMRs for the Providence Terminal indicate that Shell is

   over-utilizing this waiver requirement, in violation of the Permit’s prohibition on using the

   waiver more than once in a two-year period.

   371.    By abusing the limited waiver provision in conjunction with its sampling activities, Shell

   is violating the Permit and the Clean Water Act.

   372.    These violations are ongoing and continuous, and barring a change at the Providence

   Terminal and full compliance with the permitting requirements of the Clean Water Act, these

   violations will continue indefinitely.

                                       Sixteenth Cause of Action

       Violation of the Clean Water Act – Failure to Comply with Sampling Requirements

   373.    Plaintiff incorporates the allegations contained in the above paragraphs as though fully

   set forth herein.

   374.    The Permit includes a condition entitled “Recordkeeping and Internal Reporting

   Procedures” that states:

                   [i]ncidents such as spills, or other discharges, along with other
                   information describing the quality and quantity of storm water

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                   discharges must be included in the records. All inspections and
                   maintenance activities must be documented and maintained on site
                   for at least five (5) years.

   Ex. A, Permit Part I.C.5.b.11 at 16 (emphasis added).

   375.    Because all discharges through Outfall 001A and some discharges through Outfall 002A

   are pump controlled, see Ex. A, Permit Statement of Basis at 3, Shell must take samples at those

   locations within the first 30 minutes of discharge associated with pumping and keep records of

   all pump operations to be in compliance with the Permit, see Ex. A, Permit Part I.A.1 n.1, n.2 at

   4.

   376.    The DMRs do not indicate that monitoring is occurring during pumped discharges at all,

   let alone during the first 30 minutes after the pumps are activated.

   377.    By failing to sample at all pump-controlled locations within the first 30 minutes of

   discharge associated with pumping and failing to keep records of all pump operations, Shell is

   violating the Permit and the Clean Water Act.

   378.    These violations are ongoing and continuous, and barring a change at the Providence

   Terminal and full compliance with the permitting requirements of the Clean Water Act, these

   violations will continue indefinitely.

                                     Seventeenth Cause of Action

                Violation of the Clean Water Act – Unlawful Certification of DMRs

   379.    Plaintiff incorporates the allegations contained in the above paragraphs as though fully

   set forth herein.

   380.    The Permit requires that “[a]ll applications, reports, or information submitted to the

   Director shall be signed and certified in accordance with Rule 12 of the [RIPDES] Regulations.”

   Ex. A, Permit Part II(k) at 5.



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   381.   Each and every time Shell submitted the DMRs discussed in Counts Twelve through

   Sixteen, supra, Shell made the certification required under RIPDES Rule 12 and 40 C.F.R.

   § 122.22:

                  I certify under penalty of law that this document and all
                  attachments were prepared under the direction or supervision in
                  accordance with a system designed to assure that qualified
                  personnel properly gather and evaluate the information submitted.
                  Based on my inquiry of the person or persons who manage the
                  system, or those persons directly responsible for gathering the
                  information, the information submitted is, to the best of my
                  knowledge and belief, true, accurate, and complete. I am aware
                  that there are significant penalties for submitting false information,
                  including the possibility of fine and imprisonment for knowing
                  violations.

   382.   This certification language appears on each DMR form next to the “Name/Title Principal

   Executive Officer” signature line.

   383.   As discussed above, Shell submitted its DMRs without: 1) documenting the level of

   toxicity of its discharge in conformance with the Permit’s requirements, 2) taking samples in

   compliance with the Permit, 3) recording and/or providing information required under the

   Permit, 4) complying with the Permit’s prohibition on using the waiver provision more than once

   in a two-year period, and/or 5) conducting proper sampling and recordkeeping in connection

   with pump operations.

   384.   For these reasons, the information submitted by Shell in its DMRs was not “true,

   accurate, and complete,” and the certifications are therefore unlawful. Shell’s unlawful

   certifications are summarized in Exhibit K.

   385.   By making unlawful certifications under RIPDES Rule 12 and 40 C.F.R. § 122.22, Shell

   is violating the Permit and the Clean Water Act.




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   386.    These violations are ongoing and continuous, and barring a change at the Providence

   Terminal and full compliance with the permitting requirements of the Clean Water Act, these

   violations will continue indefinitely.

                                      Eighteenth Cause of Action

          Violation of the Clean Water Act – Violations of State Water Quality Standards

   387.    Plaintiff incorporates the allegations contained in the above paragraphs as though fully

   set forth herein.

   388.    The Permit states: “[d]ischarges which cause a violation of water quality standards are

   prohibited.” Ex. A, Permit Part II(o) at 7.

   389.    The    State   water   quality    standards   for   benzo(a)anthracene,   benzo(a)pyrene,

   benzo(b)fluoranthene,      benzo(k)fluoranthene,      chrysene,    dibenzo(a,h)anthracene,    and

   indeno(1,2,3-cd)pyrene are well below “1” ug/L. See R.I. Code R. 25-16-25, Appendix B, Table

   1 (DEM Ambient Water Quality Criteria and Guidelines).

   390.    Upon information and belief, Shell is violating State water quality standards, at a

   minimum, on the days in which Shell has reported “<1” ug/L for the parameters listed above. See

   supra ¶ 341.

   391.    Each and every violation of State water quality standards is a violation of the Permit and

   the Clean Water Act.

   392.    These violations are ongoing and continuous, and barring a change at the Providence

   Terminal and full compliance with the permitting requirements of the Clean Water Act, these

   violations will continue indefinitely.




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                                      Nineteenth Cause of Action
    Violation of the Clean Water Act – Violation of Permit Prohibition on Visible Oil Sheen,
                                   Foam, or Floating Solids

   393.    Plaintiff incorporates the allegations contained in the above paragraphs as though fully

   set forth herein.

   394.    The Permit states that “the effluent shall contain neither a visible oil sheen, foam, nor

   floating solids at any time” and “[t]he discharge shall not cause visible discoloration of receiving

   waters.” Ex. A, Permit Part I.A.4.c & I.A.4.b at 8.

   395.    State water quality standards prohibit any “sludge deposits, solid refuse, floating solids,

   oil, grease, scum” in Class SB1{a} waterbodies, including the relevant portion of the Providence

   River. R.I. Code R. 25-16-25:8, Table 2.8.D.(3).

   396.    There have been past and ongoing discharges associated with the Providence Terminal

   that result in a visible oil sheen at the Providence Terminal outfalls and in the Providence River.

   397.    A 2012 Emergency Response Report, filed with the DEM Division of Compliance and

   Inspection, stated that “oil has been coming out into the Providence River [near one of the

   outfalls].” Jill Eastman, Investigator, State of R.I. and Providence Plantations Dep’t of Envtl.

   Mgmt., Emergency Response Report (Feb. 23, 2012). See also supra ¶ 152.

   398.    Each and every discharge of oil sheen into the Providence River is a violation of State

   water quality standards, the Permit, and the Clean Water Act.

   399.    These violations are ongoing and continuous, and barring a change at the Providence

   Terminal and full compliance with the permitting requirements of the Clean Water Act, these

   violations will continue indefinitely.




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                                       Twentieth Cause of Action
              Violation of the Clean Water Act – Failure to Properly Operate and Maintain
                              Wastewater Collection and Treatment System

   400.    Plaintiff incorporates the allegations contained in the above paragraphs as though fully

   set forth herein.

   401.    The Permit requires that “[t]he wastewater collection and treatment system shall be

   operated and maintained in order to provide optimal treatment of the wastewaters prior to

   discharge to the receiving water.” Ex. A, Permit Part I.B.4 at 11.

   402.    The current condition of the Providence Terminal wastewater collection and treatment

   system does not comply with this provision of the Permit.

   403.    The Providence Terminal outfall pipes, which discharge directly into the Providence

   River, are in disrepair.

   404.    By failing to properly operate and maintain the wastewater collection and treatment

   system, Shell is violating the Permit and the Clean Water Act.

   405.    These violations are ongoing and continuous, and barring a change at the Providence

   Terminal and full compliance with the permitting requirements of the Clean Water Act, these

   violations will continue indefinitely.

                                     Twenty-First Cause of Action
     Violation of the Resource Conservation and Recovery Act – Imminent and Substantial
                     Endangerment to Human Health and the Environment

   406.    Plaintiff incorporates the allegations contained in the above paragraphs as though fully

   set forth herein.

   407.    At the Providence Terminal, Shell is regulated under RCRA as a generator of hazardous

   waste, Handler ID No. RID059741520.




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   408.   As described above, Shell’s Providence Terminal generates, stores, handles, and disposes

   of refined petroleum products containing and/or comprised of hazardous waste constituents,

   toxic and hazardous chemicals, metals, and compounds, including but not limited to: Benzene,

   Ethanol, Ethylbenzene, Iron, Methyl Tertiary Butyl Ether (MTBE), NAPL, SGT-HEM (Oil and

   Grease), Petroleum Hydrocarbons, Pyrene, Total Suspended Solids, Xylenes (m,p,o), and

   Polycyclic Aromatic Hydrocarbons (PAHs): Acenaphthene, Acenaphthylene, Anthracene,

   Benzo(a)anthracene,       Benzo(a)pyrene,       Benzo(b)fluroanthene,       Benzo(ghi)perylene,

   Benzo(k)fluoranthene, Chrysene, Dibenzo(a,h)anthracene, Fluoranthene, Fluorene, Indeno(1,2,3-

   cd)pyrene, Naphthalene, Phenanthrene, and Pyrene.

   409.   The soils and groundwaters at the Providence Terminal are contaminated from Shell’s

   past, present, and ongoing handling, storage, treatment, transportation, or disposal of hazardous

   and solid waste.

   410.   A 1999 Site Characterization Report and Remedial Action Plan documents that the

   Providence Terminal site is contaminated with various pollutants. Handex of New England, Inc.,

   Updated Site Characterization Rep. and Remedial Action Plan: Motiva Facility Terminal, 520

   Allens Avenue Providence, R.I. (July 1999). The report identified five Areas of Concern

   (“AOCs”) that are contaminated with levels of Non-aqueous phase liquid, Petroleum

   Hydrocarbons, and Volatile Petroleum Hydrocarbon Constituents. Two of the AOCs border the

   Providence River. A 2009 Addendum to the Remedial Action Plan establishing a Long-term

   Groundwater Monitoring Plan for four of these AOCs reported that “[g]roundwaters within this

   classification may not be suitable for direct human consumption due to waste discharges, spills

   or leaks of chemical or land use impacts.” Sovereign Consulting Inc., Remedial Action Plan




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   Addendum and Long-Term Groundwater Monitoring Plan: Motiva Bulk Storage Facility No.

   58097, 520 Allens Avenue Providence, R.I., at 1 (Sept. 2009).

   411.   The hazardous and solid waste at the Providence Terminal is generated, handled, stored,

   treated, transported and/or disposed of at or near sea level in close proximity to major human

   population centers, the Providence Harbor, and the Providence River.

   412.   As described above, Shell has discharged and/or released pollutants from the Providence

   Terminal, and will likely continue to do so, due to, including, but not limited to, infrastructure

   failures and inadequate infrastructure design.

   413.   There is a substantial and imminent risk of the Providence Terminal discharging and/or

   releasing pollutants because the Providence Terminal has not been properly engineered,

   managed, operated, fortified, or, if necessary, relocated, to protect against the factors discussed

   in Section IV.A, supra.

   414.   Shell has not integrated the factors discussed in Section IV.A, supra, and the substantial

   risks of pollutant discharges and/or releases associated with these factors, into its systems for

   handling, storage, or disposal of hazardous waste at the Providence Terminal.

   415.   Shell has failed to address the factors discussed in Section IV.A, supra, and the

   substantial risks of pollutant discharges and/or releases associated with these factors, in its

   RCRA and other compliance and permitting filings.

   416.   Shell has not modified the Providence Terminal to prevent pollutant discharges and/or

   releases associated with the factors discussed in Section IV.A, supra.

   417.   The design of the Providence Terminal, and any regulatory filing associated therewith, is

   premised on standards for spill containment, drainage, and resistance to weather events that do




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   not integrate information related to the factors discussed in Section IV.A, supra, and the

   substantial risks of pollutant discharges and/or releases associated with these factors.

   418.   Shell’s failure to adapt the Providence Terminal to the factors discussed in Section IV.A,

   supra, puts the facility, the public health, and the environment at substantial and imminent risk of

   pollutant discharges and/or releases from the Providence Terminal into the Providence Harbor,

   and the Providence River which flows through the communities of East Providence, Cranston,

   Warwick, and Barrington on its way to Narragansett Bay.

   419.   The resulting harm and ongoing risk of harm to the Providence Terminal, the public

   health and the environment has been and will continue to be significant, due to the magnitude of

   waste managed by the Providence Terminal:




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   EPA, Motiva Enters. LLC Providence Terminal Total Waste Managed (Pounds), 13 Chemicals

   Reported                  between                    1998                  &                  2016,

   https://iaspub.epa.gov/triexplorer/facility_profile_charts?p_tri=02905MTVNT520AL&p_VAR=

   WST_PROD&p_LABEL=Total+Waste+Managed%20(Pounds) (last visited Oct. 25, 2017).

   420.    Shell’s operation of the Providence Terminal presents an “imminent and substantial

   endangerment to health or the environment” because the factors discussed in Section IV.A,

   supra, have resulted and will result in discharges and/or releases of solid and/or hazardous

   wastes into the environment and surrounding residential communities.

   421.    Shell has not disclosed its creation of this imminent and substantial risk at the Providence

   Terminal to the EPA, State regulators, or the public. Shell failed to disclose required information

   in its possession to the Federal and State regulators and the public regarding the effects of the

   factors discussed in Section IV.A, supra, on the Providence Terminal. Shell’s failure to disclose

   has contributed to the imminent and substantial endangerment to health and the environment.

   422.    Due to its failure to mitigate these risks, Shell has contributed and is contributing to the

   past or present handling, storage, treatment, transportation, or disposal of solid and hazardous

   wastes which may present an imminent and substantial endangerment to health or the

   environment under 42 U.S.C. § 6972(a)(1)(B), in violation of RCRA.

                                   Twenty-Second Cause of Action

    Violation of the Resource Conservation and Recovery Act – Failure to Comply with State
         and Federal RCRA Regulations Applicable to Generators of Hazardous Wastes

   423.    Plaintiff incorporates the allegations contained in the above paragraphs as though fully

   set forth herein.

   424.    At the Providence Terminal, Shell is regulated under RCRA as a generator of hazardous

   waste, Handler ID No. RID059741520.

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   425.     As described above, Shell’s Providence Terminal generates, stores, handles, and disposes

   of refined petroleum products containing and/or comprised of hazardous waste constituents,

   toxic and hazardous chemicals, metals, and compounds, including, but not limited to: Ignitable

   Waste, Lead, Benzene, Ethanol, Ethylbenzene, Iron, Methyl Tertiary Butyl Ether (MTBE),

   NAPL, SGT-HEM (Oil and Grease), Petroleum Hydrocarbons, Pyrene, Total Suspended Solids,

   Xylenes     (m,p,o),   and    Polycyclic   Aromatic    Hydrocarbons    (PAHs):    Acenaphthene,

   Acenaphthylene, Anthracene, Benzo(a)anthracene, Benzo(a)pyrene, Benzo(b)fluroanthene,

   Benzo(ghi)perylene, Benzo(k)fluoranthene, Chrysene, Dibenzo(a,h)anthracene, Fluoranthene,

   Fluorene, Indeno(1,2,3-cd)pyrene, Naphthalene, Phenanthrene, and Pyrene.

   426.     Petroleum products handled and stored at the Providence Terminal are comprised of

   hundreds of petroleum hydrocarbons and other constituents including but not limited to

   hazardous waste constituents such as Benzene, Toluene, Naphthalene, Fluoranthene,

   Benzo(k)fluoranthene,        Benzo(b)fluoranthene,    Indeno(1,2,3-cd)pyrene,    Benzo(a)pyrene,

   Benzo(a)anthracene, Dibenzo(a,h)anthracene, Chrysene, and 3-Methyl-cholanthrene.

   427.     The soils and groundwaters at the Providence Terminal are contaminated from Shell’s

   past, present and ongoing handling, storage, treatment, transportation, or disposal of hazardous

   and solid waste and hazardous waste constituents.

   428.     Hazardous and solid waste and hazardous waste constituents at the Providence Terminal

   are generated, handled, stored, treated, transported, and/or disposed of at or near sea level in

   close proximity to major human population centers, the Providence Harbor, and the Providence

   River.




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   429.   As described above, Shell has discharged and/or released pollutants and hazardous waste

   constituents from the Providence Terminal, and will likely continue to do so, due to, including

   but not limited to, infrastructure failures and inadequate infrastructure design.

   430.   It is highly likely that the Providence Terminal will have an unplanned spill, discharge,

   and/or release of pollutants, hazardous waste, and/or hazardous waste constituents, because the

   Providence Terminal has not been properly engineered, managed, operated, maintained, fortified,

   or if necessary relocated, in recognition of the factors discussed in Section IV.A, supra.

   431.   Shell has not integrated the factors discussed in Section IV.A, supra, and the risks of

   spills, discharges, and/or releases of pollutants, hazardous waste, or hazardous waste constituents

   into planning, operation or maintenance at the Providence Terminal.

   432.   As a consequence of these failures, Shell is not maintaining and operating the facility in a

   manner that “minimizes the possibility of . . . any unplanned spill or release of hazardous waste

   or hazardous waste constituents to the air, soil, or surface waters of the State.” R.I. Code R. 25-

   15-102: 5.13(H)(1) & (J);, 5.15(G)(1).

   433.   Shell’s acts and omissions have also been in violation of 40 C.F.R. § 262.16(b)(8)(i),

   which requires small quantity generators who accumulate hazardous waste, as conditions for

   exemption from certain RCRA provisions, in part to comply with: “[p]reparedness and

   prevention – (i)Maintenance and operation of facility. A small quantity generator must maintain

   and operate its facility to minimize the possibility of a fire, explosion, or any unplanned sudden

   or non-sudden release of hazardous waste or hazardous waste constituents to air, soil, or surface

   water which could threaten human health or the environment.”

   434.   To the extent that Shell is, or has been, a Large Quantity Generator Shell’s acts and

   omissions have also been in violation of 40 C.F.R. § 262.251, which requires that: “A large



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   quantity generator must maintain and operate its facility to minimize the possibility of a fire,

   explosion, or any unplanned sudden or non-sudden release of hazardous waste or hazardous

   waste constituents to air, soil, or surface water which could threaten human health or the

   environment.”

   435.   Shell’s ongoing failure to disclose information in its possession regarding the factors

   discussed in Section IV.A, supra, to Federal and State regulators and the public has resulted in

   an inability to maintain and operate the Providence Terminal to minimize the possibility of a fire,

   explosion, or any unplanned sudden or non-sudden release of hazardous waste or hazardous

   waste constituents to air, soil, or surface water which could threaten human health or the

   environment.

   436.   Shell’s ongoing failure to maintain and operate its facility to minimize the possibility of a

   fire, explosion, or any unplanned sudden or non-sudden release of hazardous waste or hazardous

   waste constituents to air, soil, or surface water which could threaten human health or the

   environment causes Shell to be in “violation of [a] permit, standard, regulation, condition,

   requirement, prohibition, or order which has become effective pursuant to [RCRA].” 42 U.S.C.

   § 6972(a)(1)(A).

                                       RELIEF REQUESTED

   Wherefore, CLF respectfully requests that this Court grant the following relief:

              a. declaratory and injunctive relief to prevent further violations of the Clean Water

                   Act pursuant to §§ 505(a) and (d) of the CWA, 33 U.S.C. §§ 1365(a) and (d);

              b. civil penalties of up to $37,500 per day per day per violation for all CWA

                   violations occurring between January 12, 2009 and November 2, 2015; up to

                   $51,570 per day per violation for all CWA violations occurring after November 2,



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                  2015 and assessed on or after August 1, 2016 but before January 15, 2017; up to

                  $52,414 per day per violation for all CWA violations occurring after November 2,

                  2015 and assessed on or after January 15, 2017; and up to $53,484 per day per

                  violation for all CWA violations occurring after November 2, 2015 and assessed

                  on or after January 15, 2018, pursuant to § 309(d) of the CWA, 33 U.S.C.

                  § 1319(d), and the regulations governing the Adjustment of Civil Monetary

                  Penalties for Inflation, 40 C.F.R. §§ 19.1–19.4;

              c. environmental restoration and compensatory mitigation to address the impacts of

                  past violations of the Permit;

              d. injunctive relief pursuant to § 7002 of RCRA, 42 U.S.C. § 6972, ordering Shell to

                  perform and pay for such work as may be required to respond to the hazardous

                  waste and solid waste present at the Providence Terminal and restraining Shell

                  from further violating RCRA and the Hazardous Waste Regulations of Rhode

                  Island;

              e. an award of the costs of litigation, including reasonable attorney and expert

                  witness fees, under § 505(d) of the CWA, 33 U.S.C. § 1365(d), and § 7002 of

                  RCRA, 42 U.S.C. § 6972; and

              f. all other relief as permitted by law.

                                             JURY DEMAND

   Plaintiff requests a jury trial on the issue of liability and any other issue cognizable by a jury.




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   Respectfully submitted,                       Dated: August 2, 2019

   CONSERVATION LAW FOUNDATION, INC.

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